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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                  EXHIBIT C
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  1                    UNITED STATES DISTRICT COURT
  2                 FOR THE DISTRICT OF SOUTH CAROLINA
  3                          COLUMBIA DIVISION
  4         THE SOUTH CAROLINA STATE CONFERENCE OF THE
            NAACP, et al.,
  5
                           Plaintiffs,
  6
                     vs.    CASE NO. 3:21-CV-03302-JMC-TJH-RMG
  7
            THOMAS C. ALEXANDER, et al.,
  8
                           Defendants.
  9
 10         VIDEOCONFERENCE VIDEOTAPE
 11         DEPOSITION OF: SEAN TRENDE
 12                         (Attending by VTC)
 13         DATE:           April 5, 2022
 14         TIME:           10:06 a.m.
 15         LOCATION:       1146 Elderberry Loop
                            Delaware, Ohio
 16
            TAKEN BY:            Counsel for the Plaintiff
 17
            REPORTED BY:     Julie L. Bonomo
 18                          (Attending by VTC)
            ___________________________________________________
 19
 20
 21
 22
 23
 24
 25

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  1        APPEARANCES OF COUNSEL:
                 ATTORNEYS FOR PLAINTIFF
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           THE NAACP, et al.:
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                                                                        Page 3

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 18                       Jtrinkley@burr.com
 19                  ALSO PRESENT:
 20                       ROOSEVELT HARRISON, LEGAL VIDEOGRAPHER
 21
 22                         (INDEX AT REAR OF TRANSCRIPT)
 23
 24
 25

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  1                         THE VIDEOGRAPHER:           We are now on the
  2         record.     The time on the monitor is 9:05 a.m.
  3         Eastern Standard time.          Today's date is April 5,
  4         2022.     This is the video recorded deposition of
  5         Mr. Sean Trende, in the matter of the South
  6         Carolina State Conference of the NAACP, et al,
  7         versus Thomas C. Alexander, et al.
  8                         This deposition is being held remotely
  9         via Zoom.
 10                         Counsel, please introduce yourselves,
 11         after which the court reporter will swear in the
 12         witness.
 13                         MR. TRIVEDI:        Somil Trivedi from the
 14         American Civil Liberty Union Foundation for the
 15         Plaintiffs.
 16                         MR. DIAMADUROS:          Konstantine
 17         Diamanduros, on behalf of the House Defendants,
 18         James Lucas, Chris Murphy, and Wallace Jordan.                       In
 19         the room with me is my colleague, Andrew Mathias,
 20         also on behalf of House Defendants.
 21                         MS. TRINKLEY:          Jane Trinkley on behalf
 22         of Election Commission.
 23                         MR. KENNY:      Stephen Kenny on behalf of
 24         the Senate Defendants, Thomas Alexander and Luke
 25         Rankin.

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  1                       MS. YAN:      Patricia Yan of the American
  2         Civil Liberty Union for the Plaintiffs.
  3                       MR. CUSICK:        John Cusick on behalf of
  4         the Plaintiffs at the NAACP Legal Defense
  5         Educational Fund.
  6                       MR. DERIEUX:        Hi.      This is Adriel
  7         Cepada Derieux of the American Civil Liberties
  8         Union for the Plaintiffs.
  9                       MS. OSAKI:       Hi.      This is Samantha Osaki
 10         with the ACLU.     Also for the Plaintiffs.
 11                       THE COURT REPORTER:               Is that everyone?
 12                       MR. TRIVEDI:        Seems like it.
 13                       THE COURT REPORTER:               I'll swear in the
 14         witness then.
 15                                  SEAN TRENDE
 16         being first duly sworn, testified as follows:
 17                                  EXAMINATION
 18         BY MR. TRIVEDI:
 19                  Q.   Thank you, Mr. Trende.               Good morning.
 20                  A.   Good morning.
 21                  Q.   Would you mind stating your full name
 22         for the record please?
 23                  A.   Sean Patrick Trende.
 24                  Q.   And you understand that you're
 25         testifying under oath today?

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  1                  A.     Yes.
  2                  Q.     And is there anything before we get
  3         started that might prevent you from understanding
  4         my questions or answering them truthfully today?
  5                  A.     No.
  6                  Q.     Okay.     So let's go over a few ground
  7         rules for this deposition, so we all have the same
  8         understanding of things.              Is that all right?
  9                  A.     Sure.
 10                  Q.     In this deposition, I will be asking
 11         you questions.         My questions and your answers will
 12         be recorded by the court reporter for the
 13         transcript.
 14                         Does that make sense?
 15                  A.     Yes.
 16                  Q.     So especially because we're over Zoom,
 17         you'll need to speak up and answer clearly so the
 18         reporter can take down your responses, just like I
 19         will have to do the same for my questions.
 20                         The reporter won't be able to record a
 21         nod, or a sake of your head, or uh-huh.
 22                         Do you understand that?
 23                  A.     Yes.
 24                  Q.     The court reporter is also going to
 25         have trouble if we talk over each other.                      So it's

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  1         person that you wait for me to finish a question
  2         entirely before you begin answering, even if you
  3         think you know what the rest of the questions might
  4         be.      This is especially important, again, because
  5         we are over video, and there maybe a lag at times.
  6                         Is that all right with you?
  7                    A.   Yes.
  8                    Q.   And similarly, I'll do my best to make
  9         sure that I let you completely answer questions
 10         before asking about them.
 11                         Is that okay?
 12                    A.   Yes.
 13                    Q.   Okay.     From time to time I might ask a
 14         question that you don't understand maybe because of
 15         how I phrased it or because my audio cut out.                      If
 16         you don't understand the question for any reason,
 17         just ask me to repeat it and I'll do it.
 18                         Is that all right?
 19                    A.   Yes.
 20                    Q.   As I mentioned a second ago, sometimes
 21         there are tech issues especially over Zoom.                      There
 22         might be background noise, static or lag.                      If you
 23         experience any of that, just let everybody know,
 24         and we will either fix it in real time or go off
 25         the record to fix it.           We don't want a garbled

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  1         transcript if there are tech issues.
  2                        Is that good?
  3                  A.    Yes.
  4                  Q.    Okay.     Just to go back to your oath for
  5         a second.     You understand that you have taken an
  6         oath just now, correct?
  7                  A.    Yes.
  8                  Q.    And that requires you to tell the
  9         truth, the whole truth, and nothing but the truth,
 10         is that right?
 11                  A.    Yes.
 12                  Q.    So that is the same oath that you would
 13         take if we were sitting in court today.
 14                        Do you understand that?
 15                  A.    Yes.
 16                  Q.    Okay.     If you need to take a break at
 17         any point, for any reason, just tell me or your
 18         attorney and we'll finish this question or maybe
 19         the line of questions that I'm on.                And then we'll
 20         take a break.
 21                        Is that fine?
 22                  A.    Yes.
 23                  Q.    Okay.     And the local rules dictate that
 24         during those breaks you can't speak to your
 25         attorney about anything substantive about the

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   1         deposition.
   2                        Do you understand that?
   3                   A.   Yes.
   4                   Q.   Okay.     Speaking of your attorneys,
   5         during this deposition, they may object to
   6         questions of mine.         If they object, unless they
   7         instruct you not to answer or the attorneys are
   8         having some kind of back and forth about the
   9         question, you are supposed to go ahead and answer.
 10          They have simply lodged their objection for the
 11          record.
 12                         Is that okay with you?
 13                    A.   Yes.
 14                    Q.   Okay.     You may also at some point give
 15          an answer to a question and later remember
 16          additional information or want to clarify
 17          something.     If that happens, just tell me that you
 18          would like to add something to an earlier answer
 19          and we'll address it.
 20                         Will you do that?
 21                    A.   Yes.
 22                    Q.   Okay.     Similarly, if you realize you
 23          said something inaccurate, you can just tell me and
 24          we'll clear it up.
 25                         Is that alright?

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   1                  A.    Yes.
   2                  Q.    Okay.     So I think I know this answer to
   3         this, but have you been deposed before?
   4                  A.    Yes.
   5                  Q.    Approximately how many times?
   6                  A.    15 to 20 maybe.
   7                  Q.    When was the most recent time?
   8                  A.    Probability in the Maryland
   9         redistricting case but, I don't know the exact
 10          chronology.
 11                   Q.    Was it this year?
 12                   A.    Yes.
 13                   Q.    Okay.     Turning to this case now, you
 14          understand that this case broadly alleges racial
 15          gerrymandering and potential discrimination against
 16          state officials who created the South Carolina
 17          State House Redistricting Map?
 18                   A.    About the racial gerrymandering claim.
 19          I don't know anything about the intent issue.
 20                   Q.    Do you understand that racial
 21          gerrymandering and potential discrimination are the
 22          claims that the Plaintiffs have brought in this
 23          case?
 24                   A.    I didn't receive the Complaint, so I
 25          didn't actually know.          If you had asked me is this

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   1         an intention discrimination case, I would say that
   2         I don't know.        I only about that it was a Shaw
   3         case.
   4                   Q.   Do you understand that the map that
   5         we're discussing relates to the state house in
   6         South Carolina?
   7                   A.   Yes.
   8                   Q.   Do you know that it was passed into law
   9         under a bill called House Bill 4493 or H4493?
 10                    A.   No.
 11                    Q.   What I'm trying to get at is that we
 12          are talking about the same map.                   So in your expert
 13          report you refer to something called the enacted
 14          map.     Is it your understanding that the enacted map
 15          is the map that was passed in 2021 by the state
 16          legislature and signed by the governors that now
 17          applied to the state house of representatives in
 18          South Carolina?
 19                    A.   Yes.
 20                    Q.   So for the rest of this deposition I'm
 21          going to refer to that as the enacted map just like
 22          you do in your report, for ease of use.
 23                         Is that okay?
 24                    A.   Yes.
 25                    Q.   Okay.     And you understand that the

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   1         enacted map is the one that's at issue in the
   2         litigation?
   3                  A.    Yes.
   4                        (EXHIBIT 1, Amended Deposition Notice,
   5         was marked for identification.)
   6         BY MR. TRIVEDI:
   7                  Q.    Okay.     I'm going to pull up an exhibit
   8         over screen share and there might be a lag so tell
   9         me when you see it?
 10                   A.    I see it.
 11                   Q.    Great.      Now this is difficult over Zoom
 12          because I control the document.                   But do you
 13          recognize this document?
 14                   A.    No.
 15                   Q.    Can you read what's there in the bold
 16          all caps and underlined in the middle of page?
 17                   A.    Deposition of Sean Trende.
 18                   Q.    Okay.     Do you know what a Deposition
 19          Notice is?
 20                   A.    Yes.
 21                   Q.    Okay.     Do you understand this to be a
 22          Deposition Notice of you?
 23                   A.    Yes.
 24                   Q.    Okay.     I stopped sharing.             So you said
 25          a moment ago you didn't recognize it.                   You haven't

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   1         seen this document before today?
   2                   A.   It may have been sent by counsel, but I
   3         had the date.     That's what was important to me.
   4                   Q.   You understand that you have been
   5         designated an expert in this case; is that right?
   6                   A.   Yes.
   7                   Q.   Okay.     And when I say, "this case," I
   8         mean the case regarding the state house map and not
   9         any other map.        Is that your understanding?
 10                    A.   Yes.
 11                    Q.   Not for congress, for example?
 12                    A.   Yes, I understand that.
 13                         (EXHIBIT 2, Trende Report and CV, was
 14          marked for identification.)
 15          BY MR. TRIVEDI:
 16                    Q.     I'm going to pull up another document
 17          now just for a moment because I do think you'll
 18          recognize this one.         Okay.       Can you read what is in
 19          the middle of the page, in all caps, bold and
 20          underlined, please?
 21                    A.   Rebuttal Expert Report for Sean P.
 22          Trende.
 23                    Q.   I know you can't see ever page right
 24          now, but do you recognize this document, as I
 25          scroll through it?

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   1                  A.    Yes.     Yes.
   2                  Q.    What is it?
   3                  A.    It is the expert report that I wrote
   4         for this case.        At least the first five pages of
   5         it.
   6                  Q.    I'm going to take this down now, but
   7         just know that I'm going to refer to it at many
   8         times during the deposition.               If there is ever a
   9         time where I'm at a part of the deposition or I'm
 10          sorry a part of the report, that you would like to
 11          see on the screen, I can do that.
 12                         Is that okay?
 13                   A.    Yeah.     I have my own copy.
 14                   Q.    Great.      That is all.
 15                         You submitted this report on February
 16          10, 2022; is that right?
 17                   A.    Yes.
 18                   Q.    When did you start writing it?
 19                   A.    I don't know.
 20                   Q.    Would you say you started writing it on
 21          2022?
 22                   A.    Certainly.
 23                   Q.    So not as early as 2021?
 24                   A.    No, I did not write it in 2021.
 25                   Q.    Did you start it in February of 2022?

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   1                  A.    Would either be late January report
   2         early February.
   3                  Q.    What materials did you rely on to write
   4         your report?
   5                  A.    The materials referenced in the report
   6         and produced Plaintiffs to my knowledge or
   7         recollection.
   8                  Q.    Did you produce to the Plaintiffs every
   9         material that you relied on for your report?
 10                   A.    I think every substantive material and
 11          I didn't consciously withhold anything.
 12                   Q.    What do you mean by "substantive?"
 13                   A.    There is always stuff you rely on that,
 14          you know, you have learned in other classes, you
 15          have read in articles, that give you background
 16          information.     But by substantive, I mean the stuff
 17          that goes into actual substance of the report.
 18                   Q.    Are there any documents you created, or
 19          the spreadsheets, or notes that you used while
 20          creating the report that you didn't turn over?
 21                   A.    I don't think so.
 22                   Q.    Any computer code that you employed in
 23          the making of your report that you didn't turn
 24          over?
 25                   A.    I don't believe so.

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   1                  Q.    Any there documents referenced in your
   2         report that you didn't turn over?
   3                  A.    I mean, the citations.
   4                  Q.    Anything else?
   5                  A.    I'm saying I have to look at the
   6         citations.     So, for example, Paragraph 43 I
   7         reference the McCartan and Imai article.                     I didn't
   8         produce that article because it's publically
   9         available, so things of that nature I didn't
 10          produce.
 11                   Q.    Sure.
 12                   A.    I didn't consciously withhold anything,
 13          if that's what you're getting at.
 14                   Q.    When about did you turn these materials
 15          over to counsel?       Without revealing anything
 16          privileged about any conversation with counsel.
 17                   A.    I believe it was whenever the case came
 18          back to life in my deposition.                Well, I guess it's
 19          always been the life for you all.                 But for me when
 20          it came back to life, and the deposition was back
 21          on, I started turning things over.
 22                   Q.    When about was that?
 23                   A.    I mean, so last week I was in Iceland,
 24          so the week before, the week before that.
 25                   Q.    Okay.     Did you turn over any materials

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   1         in the last week?
   2                   A.   No.    Oh, no.      That's not true because I
   3         gave some documents last night.                  So those documents
   4         last night.
   5                   Q.   Were those documents that you either
   6         relied on or referenced in your report?
   7                   A.   There were two shape files that were
   8         publically available that I hadn't turned over, and
   9         there was a GOJ san (ph) that I forgot was in the
 10          code, but I guess it is not referenced in the
 11          report, so the answer to your question would be no.
 12                    Q.   Was it relied on in the report?
 13                    A.   It was relied on indirectly through the
 14          code, but it is not relied on directly in the
 15          report.
 16                    Q.   But you used the code in the report,
 17          correct?
 18                    A.   Yes.
 19                    Q.   Again, without revealing any privileged
 20          communications, who did you speak to in creating
 21          your report?
 22                    A.   Attorneys at Nexsen Pruet.
 23                    Q.   Any other defense experts in this case?
 24                    A.   Not about this report, no.
 25                    Q.   Did you speak to any of the names

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   1         Defendants?
   2                  A.    I don't even know who those are so no.
   3                  Q.    Any members of the South Carolina State
   4         House?
   5                  A.    No.
   6                  Q.    Other members of the South Carolina
   7         Legislature?
   8                  A.    No.
   9                  Q.    The person or people who created the
 10          enacted map?
 11                   A.    Yeah, no members of the legislature, so
 12          no.
 13                   Q.    Well any third parties who might have
 14          helped create the enacted map, you didn't speak
 15          with them either?
 16                   A.    No.
 17                   Q.    When you say you spoke with attorneys
 18          at Nexsen Pruet, again, I want to be clear.                   I
 19          don't want you to reveal anything privileged.                     But
 20          about how many times did you meet with them?
 21                   A.    I don't know.          I could only guess.          It
 22          was a long time ago.
 23                   Q.    So I think you said a moment ago that
 24          you started writing this in maybe late January, is
 25          that what you mean by a long time ago?

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   1                  A.    Yeah, for me that's a long time ago.
   2         Right now it's been crazy.
   3                  Q.    Okay.     Did you -- would you say you met
   4         with them more than five times?
   5                  A.    Most likely.         I mean --
   6                  Q.    More than --
   7                  A.    I'm sorry, but I want to clarify.                  By
   8         meeting, do you mean like a generic phone
   9         conversation, or do you mean a large-scale
 10          conference call?
 11                   Q.    I mean any type of communication at
 12          whatever length?
 13                   A.    But not e-mail?
 14                   Q.    I can ask about that in a moment.
 15                   A.    Okay.     You said any conversation -- any
 16          type of communication.           E-mail is communication,
 17          but I wouldn't consider it a meeting, as long as
 18          we're agreed on that.
 19                   Q.    How many times did you call Nexsen
 20          Pruet attorneys on the phone?
 21                   A.    I don't know.
 22                   Q.    Was it more than five?
 23                   A.    Almost certainly.
 24                   Q.    Was it more than ten?
 25                   A.    Probably.

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   1                   Q.   Was it more than 15?
   2                   A.   I couldn't say.
   3                   Q.   How many times approximately did you
   4         e-mail with them?
   5                   A.   Dozens.
   6                   Q.   And how many times did you meet in
   7         person?
   8                   A.   Never.
   9                   Q.   So for the phone conversations, I think
 10          you said there were dozens of them?
 11                    A.   I think I said dozens of e-mails.
 12                    Q.   Oh, I'm sorry.           You're right.        You said
 13          -- you said probably more than ten, but you
 14          couldn't say if it was more than 15 phone
 15          conversations; is that right?
 16                    A.   That's right.
 17                    Q.   Okay.     What was the range of length of
 18          these calls?     I think you mentioned a minute ago
 19          that it might have been a two-minute conversation,
 20          it might have been a longer meeting.                Of the tens
 21          of 15 phone calls, how many were shorter than half
 22          an hour?
 23                    A.   I don't know.
 24                    Q.   How many were longer than half an hour?
 25                    A.   I don't know.

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   1                  Q.    Were any of them longer than half an
   2         hour?
   3                  A.    Most likely.
   4                  Q.    Were any of them longer than an hour?
   5                  A.    No clue.
   6                  Q.    Okay.     We talked a moment ago about
   7         documents you relied on to create your report.
   8                        Did you review any documents before
   9         starting to write your report?
 10                   A.    Obviously the documents referenced in
 11          the report, and the expert reports of the
 12          Plaintiffs.     Well, I shouldn't say that.                 I read
 13          Imai and Ragusa reports and skimmed the Duchin and
 14          I can't remember the name of the VRA expert, the
 15          racial polarization expert.
 16                   Q.    Is that Baodong Liu?
 17                   A.    That sounds right.
 18                   Q.    You skimmed that one?
 19                   A.    Yes.
 20                   Q.    Just because we're on Zoom, and in
 21          different locations, do you have any documents in
 22          front of you today?
 23                   A.    I have my expert report open.
 24                   Q.    Okay.     Could you just show us for the
 25          record on the video?          Oh.      I'm sorry.     You have it

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   1         open on your desktop?
   2                  A.    Yeah.
   3                  Q.    Okay.
   4                  A.    I don't have any paper in front of me.
   5         Well, I mean, I have all kinds of paper, but
   6         nothing to rely on.
   7                  Q.    Okay.     Have you discussed this case
   8         with any one except your attorneys?
   9                  A.    Probably my wife.
 10                   Q.    Anyone else?
 11                   A.    Not in a substantive sense.              I'm sure
 12          for other cases, I'm not even sure I mentioned it
 13          in passing with other cases.
 14                   Q.    What about other --
 15                   A.    May --
 16                   Q.    I'm sorry.        Go ahead.
 17                   A.    Well, if you want to schedule something
 18          and something else is scheduled, you might say,
 19          "No, I can't do that.          We had an old deposition
 20          scheduling."     So I may have said something like
 21          that.    I think in my deposition in Maryland when we
 22          were going through cases this one came up, although
 23          at the time the litigation was stayed.                 So there
 24          was no substantive discussion of it.                That nature.
 25                   Q.    So in the Maryland case you discussed

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   1         this case with the attorneys in the Maryland case?
   2                  A.    In the deposition, when they do the
   3         walkthrough of the cases you have been in, this
   4         case came up.        But at the time it was stayed, so
   5         there wasn't much to discuss.
   6                  Q.    Has this case come up in other
   7         depositions that you have been in?
   8                        (Technical interference)
   9                  Q.    Oh, I'm sorry.           Sean, I think your
 10          sound just cut out for me.
 11                   A.    The answer is I don't know.
 12                   Q.    Okay.
 13                   A.    Well, the answer is I don't know.
 14                   Q.    Okay.     Sorry about that.
 15                         So any other times that you can recall
 16          that you spoke to other people about this case?
 17                   A.    No.
 18                   Q.    Who first told you that this lawsuit
 19          had been filed?
 20                   A.    An attorney with Nexsen Pruet.
 21                   Q.    When was that?
 22                   A.    Probably January.
 23                   Q.    Of 2022?
 24                   A.    Yes.
 25                   Q.    Who first told you that your deposition

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   1         had been requested?
   2                  A.    Probably Mr. Mathias.
   3                  Q.    Do you mean Andrew Mathias, your
   4         attorney?
   5                  A.    Mathias, yes.
   6                  Q.    When was that approximately?
   7                  A.    It would have been whenever you all --
   8         whenever Plaintiffs noticed my deposition the first
   9         time.
 10                   Q.    Aside from everything we have discussed
 11          to this point, did you do anything else to prepare
 12          your deposition?
 13                   A.    I had a conversation with counsel
 14          yesterday, and I reviewed my expert report.
 15                   Q.    How long was that conversation with
 16          counsel yesterday?
 17                   A.    Perhaps 45 minutes.               I was in the car.
 18                   Q.    So that was over the phone?
 19                   A.    Yes.
 20                   Q.    Are you being compensated by any one
 21          for being here today?
 22                   A.    I hope so.
 23                   Q.    Well, are you?
 24                   A.    I hope so I haven't received a check
 25          yet.

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   1                  Q.    Are you under a contract to be
   2         compensated?
   3                  A.    Yes.
   4                  Q.    By whom?
   5                  A.    I believe it's with -- the contract is
   6         with Nexsen Pruet.
   7                  Q.    Do you expect to be compensated to
   8         testify at trial in this case, if we go to trial?
   9                  A.    If I'm called as a witness, I would
 10          hope so.
 11                   Q.    And who in this case --
 12                   A.    I have been -- I have been stiffed
 13          before so...
 14                   Q.    Sorry for that.          If you are
 15          compensated, who would do the compensating?
 16                   A.    I would assume Nexsen Pruet.
 17                   Q.    Now we're doing to move to some
 18          personal background.
 19                         Have you ever gone by any other names?
 20                   A.    No.
 21                   Q.    What is your date or birth?
 22                   A.    January 6, 1973.
 23                   Q.    What is your address?
 24                   A.    1146 Elderberry, E-L-D-E-R-B-E-R-R-R-Y,
 25          Loop, Delaware, Ohio 43015.

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   1                  Q.    Do you have e-mail accounts?
   2                  A.    Yes.
   3                  Q.    How many?
   4                  A.    Goodness, I don't even know.                 There are
   5         three that I have in my Outlook that I use, and a
   6         Gmail that I occasionally use.
   7                  Q.    Can you tell us -- can you spell out
   8         those e-mail addresses?
   9                  A.    So the spelling of my name, since I
 10          don't think we got that is Sean, S-E-A-N
 11          T-R-E-N-D-E.     So there is SeanTrende@hotmail.com.
 12          There is Trende.30@oc.edu, and then there is
 13          Strende@realclearpolitics.             That is all one word,
 14          R-E-A-L-P-O-L-I-T-I-C-S.           No.      R-E-A-L-C-L-E-A-R
 15          and then politics.com.
 16                   Q.    And the Gmail?
 17                   A.    TrendeSean@Gmail.com.
 18                         I think there are other ones floating
 19          around out there that over the years, but those are
 20          the ones that I could log into if I wanted to.
 21                   Q.    So which of those have you used for
 22          work on this case?
 23                   A.    I believe the
 24          STrende@RealClearPolitics.             There may have been
 25          some things for -- that came through on the OSU

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   1         account.      People sometimes contact me initially
   2         through that, but that's not my main account.
   3                  Q.     So what is your main account?
   4                  A.     RealClearPolitics account.
   5                  Q.     Okay.     And that is the one that used in
   6         the e-mails that you said you sent back and forth
   7         with your attorneys?
   8                  A.     Yes.    Unless something came in
   9         initially through the OSU account.
 10                   Q.     Did you use -- I'm sorry.
 11                          Did you search both of OSU account and
 12          the RealClearPolitics account for documents you
 13          relied on this in case so that you could turn them
 14          over to Plaintiffs?
 15                   A.     No.
 16                   Q.     Did you send texts related to work on
 17          this case?
 18                   A.     I think -- I don't know actually.                  I
 19          don't know.
 20                   Q.     Do you think it's likely?
 21                   A.     I think it's likely, but I'm not sure.
 22                   Q.     Have you checked?
 23                   A.     No.
 24                   Q.     All right.        If you sent them, with whom
 25          did you correspond by text?

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   1                  A.     They would have been with counsel.
   2                  Q.     Only counsel?
   3                  A.     Only counsel.
   4                  Q.     Do you have any personal social media
   5         accounts like Facebook and twitter?
   6                  A.     Yes.
   7                  Q.     What accounts are those?
   8                  A.     I have my personal Facebook account in
   9         my name.      There is an old business one for
 10          realclearpolitics that I'm not sure I can log into
 11          anymore.      It's probably haven't logged into it in
 12          six years, and then there is my Twitter feed.
 13                   Q.     What is the full name on the Facebook
 14          account?
 15                   A.     I believe it's just Sean Trende.
 16                   Q.     What is the handle on the Twitter
 17          account?
 18                   A.     The -- if you look, it's
 19          Twitter.com/SeanTrende, one word.                 And I think
 20          SeanT@RCP is what shows right now as the handle.
 21                   Q.     Do you have control over any other
 22          social media accounts that are not in your name?
 23                   A.     No.
 24                   Q.     Okay.     I want to move to your
 25          educational background.

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   1                        You're get ago Ph.D. political science;
   2         is that right?
   3                  A.    Correct.
   4                  Q.    It says in your expert report that you
   5         expect to receive your Ph.D. in May 2022; is that
   6         right?
   7                  A.    Correct.
   8                  Q.    So that's next month, correct?
   9                  A.    Correct.
 10                   Q.    So have you already defended your
 11          dissertation?
 12                   A.    No.
 13                   Q.    Is the defense of your dissertation
 14          scheduled?
 15                   A.    Nope.     We're hoping to get everything
 16          going and completed with drafts at least in a week.
 17                   Q.    So you hope to finish your dissertation
 18          in a week?
 19                   A.    The remaining paper, yes.
 20                   Q.    And schedule your defense when?
 21                   A.    Probably towards the end of April.
 22                   Q.    Okay.     So you still expect to receive
 23          your Ph.D. in May?
 24                   A.    It's my hope.          My application is just
 25          -- my application to graduate has been approved, so

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   1         that is my hope and expectation.                 If it has to go
   2         into the summer, it has to go into the summer.                    But
   3         that is my expectation right now.                 Things have come
   4         together faster.
   5                   Q.   We'll get there.
   6                        Have you completed your dissertation?
   7                   A.   No.
   8                   Q.   In your expert report, you say, quote,
   9         "My dissertation focuses on applications of spatial
 10          statistics to political questions, including an
 11          article on redistricting simulations and the effect
 12          of communities of interest on partisan bias."
 13                         Did I get that right?
 14                    A.   Yes.
 15                    Q.   So I want to unpack that language a
 16          bit.     First you say, "my dissertation;" is that
 17          right?
 18                    A.   Yes.
 19                    Q.   You didn't use the words draft
 20          dissertation; is that right?
 21                    A.   Yes.
 22                    Q.   You didn't say working dissertation; is
 23          that right?
 24                    A.   Yes.
 25                    Q.   You didn't say how many articles of

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   1         your dissertation were done or not done, correct?
   2                  A.    Correct.
   3                  Q.    You didn't say that it wasn't complete,
   4         did you?
   5                  A.    (Inaudible).
   6                  Q.    I'm sorry, that didn't come over the
   7         audio.
   8                        You didn't say that it wasn't complete,
   9         did you?
 10                   A.    I did not say that.
 11                   Q.    Do you have someone at Ohio State who
 12          is overseeing your work on your dissertation?
 13                   A.    Yes.
 14                   Q.    Who is that person?
 15                   A.    Greg Caldeira.
 16                   Q.    Do you send Mr. Caldeira drafts of your
 17          dissertation?
 18                   A.    We have over time.             The first paper has
 19          gone through some different iterations for
 20          different uses.        So yeah.
 21                   Q.    Okay.     And when you e-mail with
 22          Mr. Caldeira, do you say, I have a dissertation, or
 23          do you say you have drafts?
 24                   A.    I don't know.
 25                   Q.    If we talked to Mr. Caldeira, would he

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   1         say you have a dissertation or you a draft
   2         dissertation?
   3                  A.    He would probably say -- I don't know
   4         what he would say.         Usually when we talk about --
   5         as grad students when we talk about and say, "What
   6         is your dissertation about?"               And we say, "Well, my
   7         dissertation is about X, Y or Z."                 Not my draft
   8         dissertation or my working dissertation.                     We just
   9         refer to it as the dissertation.
 10                   Q.    So you say -- your dissertation, in
 11          your report, you say, it contains, quote, "An
 12          article on redistricting simulations and the effect
 13          of communities of interest on partisan bias?"
 14                   A.    That's not right.
 15                   Q.    That's not right?
 16                   A.    I didn't say it contained it.
 17                   Q.    Okay.     Let's unpack the wording then.
 18          You said, "My dissertation focuses;" is that right?
 19                   A.    Uh-huh.      That's right.
 20                   Q.    Focus is in the present tense?
 21                   A.    Yes.
 22                   Q.    All right.        And then you say, "On
 23          applications of spatial statistics and political
 24          questions, including."
 25                         Is including a present tense gerund?

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   1                  A.    I have no idea.
   2                  Q.    Do you think in the way you used the
   3         word including, that that means that it currently
   4         includes something?
   5                  A.    The focus does, yes.
   6                  Q.    But not the dissertation?
   7                  A.    The dissertation focuses -- I mean, I
   8         don't know how to diagram the sentence.                     And I have
   9         to be honest, I didn't spend a whole lot of time
 10          crafting the sentence.           If I had to unpack that, I
 11          would say my dissertation, which, again, is just
 12          kind of how people refer to it.                   Not the
 13          dissertation project, which may have been more
 14          precise focuses.       So what is the focus of your
 15          dissertation?     Well, these are the three papers in
 16          it.
 17                   Q.    Okay.     But focuses is a verb, right?
 18                   A.    If you say so.
 19                   Q.    You can't say whether focuses is a
 20          verb?
 21                   A.    I suppose it is.            It's been a long time
 22          since I -- you just used the term gerund, and I
 23          don't have any recollection of what that means, so
 24          I'm assuming focus if the verb.
 25                   Q.    Okay.     And all I'm asking is when you

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   1         say something is including an article, do you mean
   2         -- would you understand that to mean that the
   3         article exists?
   4                  A.     No.
   5                  Q.     No.
   6                  A.     No.     If someone said, what is your
   7         dissertation about, and they said, my dissertation
   8         focuses on these three things.                 I wouldn't
   9         necessarily conclude or even assume that everything
 10          is done.      I would assume that that's what their
 11          project focuses on.          That is their area of inquiry
 12          and intent.
 13                   Q.     Okay.     You do have other pieces of your
 14          dissertation, right?
 15                   A.     Right.
 16                   Q.     You didn't list those in that sentence,
 17          correct?
 18                   A.     Right.
 19                   Q.     Okay.     Now I want to state for the
 20          record that we just received the documents I'm
 21          about to show you over the last 12 hours.                     So we
 22          have not had time to review them thoroughly, but
 23          I'm going to pull them up.
 24                   A.     Okay.
 25                          (EXHIBIT 16, Trende Dissertation 2, was

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   1         marked for identification.)
   2         BY MR. TRIVEDI:
   3                  Q.    Can you see this document?
   4                  A.    Yes.
   5                  Q.    Do you recognize it?
   6                  A.    Yes.
   7                  Q.    What is it?
   8                  A.    It's the second dissertation paper.
   9                  Q.    Okay.     So can you tell us what this is
 10          about?
 11                   A.    This is about use of integrated nested
 12          Laplace approximations to improve Bayesian modeling
 13          and to enable use of spatial and spatial temporal
 14          models in political science.
 15                   Q.    Okay.     Does this document have anything
 16          to do with racial gerrymandering?
 17                   A.    No.
 18                   Q.    Does it have anything to do with
 19          intentional discrimination and redistricting?
 20                   A.    I guess you could use INLA if you
 21          wanted to somehow bring in spatial model of it, but
 22          that's not by intention and it is not the -- not
 23          something I really considered.
 24                   Q.    So it's not part of this dissertation?
 25                   A.    Racial gerrymandering?

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   1                  Q.    Yes.
   2                  A.    Right.      Racial gerrymandering is not
   3         part of dissertation.
   4                  Q.    Nor is intentional discrimination?
   5                  A.    Yeah, that's right.                Intentional
   6         discrimination is not part of dissertation.
   7                  Q.    Okay.     I want to scroll down to page --
   8         this is 11.     What does it say there at the top?
   9                  A.    "Application 1 Voting."
 10                   Q.    What does it say right underneath
 11          there?
 12                   A.    "Needs to be redone for weighting."
 13                   Q.    What does that mean?
 14                   A.    That means that the -- so this section
 15          has to do with recreation of -- there is 24 -- 24
 16          GHAPS article from Irvin, and -- or three other
 17          authors on early voting, and same-day registration,
 18          and they use weighted lease squares.                   So I had
 19          started some work on this and realized that my code
 20          and INLA had not used weighted lease squares.                     So
 21          it's junk, so it has to be redone.
 22                   Q.    Okay.     But when you say, "voting," you
 23          again don't mean redistricting?
 24                   A.    No, no.
 25                   Q.    And you don't mean racial

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   1         gerrymandering?
   2                   A.   No, no.      I think we would agree to
   3         stipulate on it.       Our side at least would agree to
   4         stipulate on this.         It doesn't have anything to do,
   5         in my intent, at least with gerrymandering.
   6                   Q.   But it also doesn't have to do with the
   7         sort of simulation that Dr. Imai ran in his expert
   8         report in this case, right?
   9                   A.   Agreed.
 10                    Q.   Or the methods that you employed in
 11          your expert report, correct?
 12                    A.   That's right.          I didn't use INLA in my
 13          expert.
 14                    Q.   And you don't use -- I'm sorry.                 You
 15          done use the gerrymandering index in this
 16          dissertation draft?
 17                    A.   No.
 18                    Q.   And just to clarify one more time,
 19          Application 2 says, "Ballot Order," correct?
 20                    A.   Correct.
 21                    Q.   That doesn't have anything to do with
 22          redistricting either?
 23                    A.   That's correct.
 24                    Q.   Okay.     I'm pulling up another document.
 25          Again, I'm saying for the record that we received

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   1         this document at about 7:40 a.m. this morning, and
   2         we have not had a chance to review this nearly at
   3         all.     But I want to ask you some questions about it
   4         because I have you here.
   5                        Do you see this document?
   6                   A.   Yes.
   7                        (EXHIBIT 17, Trende Dissertation 1, was
   8         marked for identification.)
   9                        (EXHIBIT 18, Ohio Organizing
 10          Collaborative v. Husted, 2, was marked for
 11          identification.)
 12                         MR. TRIVEDI:        And for the record, we
 13          have marked this Trende Exhibit 17.               I apologize,
 14          Konstantine.     I can send you the exhibit numbers of
 15          everything that we have discussed to this point, as
 16          well, since we're just doing it over screen share,
 17          but, sorry.
 18          BY MR. TRIVEDI:
 19                    Q.   Mr. Trende, so what is this document?
 20                    A.   This is the first paper.
 21                    Q.   The first paper of your dissertation?
 22                    A.   I can call it my dissertation, and not
 23          a draft dissertation, yes.
 24                    Q.   Let's call it your draft dissertation.
 25          This paper is not about redistricting either, is

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   1         it?
   2                  A.    No.
   3                  Q.    It's not about regional gerrymandering,
   4         is it?
   5                  A.    It is not.
   6                  Q.    It's not about intentional
   7         discrimination, correct?
   8                  A.    That's right.
   9                  Q.    And it's not about -- it doesn't employ
 10          the models used by Dr. Imai in his report, correct?
 11                   A.    That's right.
 12                   Q.    It doesn't used the models employed by
 13          Dr. Ragusa in his report, correct?
 14                   A.    That -- that is right.             It is
 15          irrelevant to this case.
 16                   Q.    So I want to go back to -- well, let me
 17          finish with these two documents.                I just showed you
 18          PDFs, correct?
 19                   A.    Correct.
 20                   Q.    Do you work in PDF?
 21                   A.    No.
 22                   Q.    What application do you work in?
 23                   A.    For now, Word, and then it will switch
 24          over to whether you call it LaTeX or LaTeX or --
 25          I'm going to call it LaTeX because that's what I

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   1         call it for the final version.
   2                  Q.    Sorry about that.            Say that last part
   3         again?    I cut you off.
   4                  A.    The final version will switch over to
   5         LaTeX, but it is not in LaTeX formatting.
   6                  Q.    You don't have a version of this that
   7         is in LaTeX currently?
   8                  A.    That is correct.
   9                  Q.    Do you have a version of it that is in
 10          Word?
 11                   A.    Yes.
 12                   Q.    Do you have a version of paper one that
 13          is in Word?
 14                   A.    Yes.
 15                   Q.    And a version of paper two that is in
 16          Word?
 17                   A.    Yes.
 18                   Q.    Why didn't you send those versions to
 19          your counsel?
 20                   A.    Because I usually would send a
 21          finalized version for purposes of something in PDF,
 22          and frankly, I don't want your experts being able
 23          to mark it up and make comments on it.
 24                   Q.    But this isn't finalized, is it?
 25                   A.    For our purposes, it is.

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   1                  Q.    But -- okay.         Are you saying that the
   2         documents that we just looked at are final?
   3                  A.    For purposes of this deposition, it's
   4         the final format they're going to be in, yes.
   5                  Q.    So you're refusing to send us a Word
   6         version?
   7                  A.    I can't think of any rule that requires
   8         you to send it in a particular format, or any
   9         reason why you would need it in Word, so, yes.
 10                   Q.    When was the last --
 11                   A.    I could be -- I could be -- I could be
 12          persuaded on that, but...
 13                   Q.    When was the last time you worked on
 14          either of these articles?
 15                   A.    Last night.
 16                   Q.    Which article did you work on last
 17          night?
 18                   A.    Both of them.
 19                   Q.    Okay.     What did you do?
 20                   A.    I cleaned up some of language and made
 21          some edits.     Because if it's going to go out the
 22          door to someone like Dr. Imai, I want it to look as
 23          good as it can.
 24                   Q.    Are you aware that we asked for these
 25          documents before last night?

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   1                  A.    Yes.
   2                  Q.    Did you have access to them before last
   3         night?
   4                  A.    No.
   5                  Q.    No?
   6                  A.    No.
   7                  Q.    But you had access to them last night,
   8         such that you were working on them?
   9                  A.    Yes.
 10                   Q.    And you knew that there was a request
 11          out to send them to us?
 12                   A.    Yes.
 13                   Q.    And you worked on them more instead?
 14                   A.    Yes.    I got home from my overseas trip,
 15          cleaned up some of the language on them, and sent
 16          them out.     And they are now the latest version of
 17          my dissertation, which was what the request was.
 18                   Q.    Okay.     Did you work on them at another
 19          time in the last week?
 20                   A.    I may have drafted an insert that
 21          didn't go in, but no...
 22                   Q.    What do you mean may have, did you?
 23                   A.    I'm trying to remember.             It didn't go
 24          in, so, no.
 25                   Q.    So when did you draft that piece that

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   1         didn't go in?
   2                   A.    I had a separate document, a one pager
   3         that I was messing with on my laptop in Iceland.
   4         Yeah.
   5                   Q.    So you had access to Word in Iceland,
   6         correct?
   7                   A.    Oh, yeah.
   8                   Q.    Did you have access to your draft
   9         dissertation papers in Iceland?
 10                    A.    No.
 11                    Q.    How was that?
 12                    A.    Because I have a desktop, and because
 13          constructive Monte Carlo simulations require a lot
 14          of power.      That's where things are pretty much
 15          housed.
 16                    Q.    When did you go to Iceland?
 17                    A.    I went -- so that question is not as
 18          straightforward as one may assume.                 Friday I had to
 19          teach and then deliver my kids to my parents.
 20          Saturday we traveled to Lexington, and Sunday after
 21          dropping my oldest off at his school for special
 22          needs, we left for Iceland.
 23                    Q.    Okay.     During that weekend, did you
 24          work on your dissertation at all?
 25                    A.    No.

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   1                  Q.    No.     Last night though, you worked on
   2         it, correct?
   3                  A.    Because I was back in my house, yes.
   4                  Q.    Were you in your house that weekend
   5         that you just described?
   6                  A.    No.     As I said, I was traveling to
   7         Iceland, and then we dropped my kid off at the
   8         school for special needs.             I was travelling
   9         Lexington, Kentucky, where my wife's in-laws go,
 10          and where my son's school for special needs --
 11          well, I guess it's in Frankfurt, but close enough.
 12          Then we were traveling to Iceland.
 13                   Q.    Okay.     I want to go back to the paper
 14          that says the article -- or I'm sorry, "The
 15          application on voting needs to be redone for
 16          waiting?"
 17                   A.    Uh-huh.
 18                   Q.    I think you said earlier that you
 19          expect to be done with your dissertation in the
 20          next week, right?
 21                   A.    I have drafted to everyone yes of all
 22          three.
 23                   Q.    Do you expect that -- do you expect
 24          that piece on waiting to be redone in the next
 25          week?

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   1                  A.    Yes.
   2                  Q.    And you said --
   3                  A.    It's a matter -- it's a matter of
   4         inserting a waiting term into the INLA and
   5         rerunning it.
   6                  Q.    Okay.     You haven't done that at this
   7         point?
   8                  A.    No, I have not.
   9                  Q.    And you haven't turned over the article
 10          that you say will cover redistricting simulations
 11          and effect of communities of interest on partisan
 12          bias, correct?
 13                   A.    There is nothing to turn over.
 14                   Q.    There is no draft at all?
 15                   A.    No.
 16                   Q.    Nothing in Word?
 17                   A.    Nothing in Word.
 18                   Q.    And you expect that to get done in the
 19          next week as well?
 20                   A.    Yes.
 21                   Q.    How many pages is that going to be?
 22                   A.    Probably 20 to 30.
 23                   Q.    Okay.     And you're going to run
 24          mathematical computations for that as well?
 25                   A.    Yes.

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   1                  Q.    All right.
   2                  A.    We're lawyers, we have all written 25
   3         page briefs in a day or two.             It is a skill that's
   4         fun to develop.
   5                  Q.    How long have you been enrolled in your
   6         Ph.D. program at OSU?
   7                  A.    Since 2016.
   8                  Q.    During this time, you have never
   9         established an academic peer review journal
 10          article, correct?
 11                   A.    Correct.
 12                   Q.    So you certainly haven't established an
 13          academic peer journal article regarding
 14          redistricting, correct?
 15                   A.    Correct.
 16                   Q.    Or voting rights?
 17                   A.    Correct.
 18                   Q.    Have you ever presented at any academic
 19          conference regarding redistricting?
 20                   A.    No.
 21                   Q.    Or voting rights?
 22                   A.    No.
 23                   Q.    You write for a website called
 24          RealClearPolitics, correct?
 25                   A.    Correct.

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   1                  Q.    Would you say that's what you spend
   2         most of your time on?
   3                  A.    Certainly over the past decade, yes.                   I
   4         mean, right now it's busy with redistricting work.
   5         But, generally speaking, yes.
   6                  Q.    And RealClearPolitics is like a blog;
   7         is that right?
   8                  A.    No.
   9                  Q.    Is it published online?
 10                   A.    It is.
 11                   Q.    Does it appear in print?
 12                   A.    It does not.
 13                   Q.    And the articles that you write for it,
 14          they're not peer reviewed, correct?
 15                   A.    That's correct.
 16                   Q.    Do any of your articles involve
 17          quantitative analysis that you did yourself?
 18                   A.    Yes.
 19                   Q.    What sort of quantitative analysis?
 20                   A.    I mean, I typically -- not typically.
 21          I frequently will use regression analysis.                   I would
 22          have to go through the articles to see what else
 23          has been used, but that is the main tool that I
 24          used for them.
 25                   Q.    Have you used REDIST for your articles

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   1         in RealClearPolitics?
   2                  A.    No.
   3                  Q.    Have you used the gerrymandering index
   4         for those articles?
   5                  A.    No.
   6                  Q.    Have you use any methodology that
   7         Dr. Imai used in his expert report?
   8                  A.    No.
   9                  Q.    Have you used any of the methodologies
 10          that Dr. Ragusa used?
 11                   A.    I think he uses logistics.               Well, no.
 12          I'm not sure he uses varying on logistics, so no.
 13                   Q.    You teach some classes as well, right?
 14                   A.    That's right.
 15                   Q.    Any on simulations analysis?
 16                   A.    That's not what the class is on, no.
 17                   Q.    Any of any of the methodologies that
 18          Dr. Imai used in his report?
 19                   A.    Not for the class.               I wouldn't say
 20          they're classes on sequential Monte Carlo or
 21          anything like that so no.
 22                   Q.    Any of the -- did -- in the classes
 23          that you teach, do you teach any of simulations or
 24          analyses that Dr. Ragusa uses?
 25                   A.    Well, that -- okay.               So that's a

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   1         slightly different question than --than your last
   2         one, but no, I don't.
   3                  Q.     You mentioned a program called REDIST,
   4         that's R-E-D-I-S-T in your report, right?
   5                  A.     That's right.
   6                  Q.     Can you tell us what REDIST is?
   7                  A.     It's a package to run redistricting
   8         simulations that was developed by Dr. Imai and his
   9         team for use in R.
 10                   Q.     When you say, "for use in R" what do
 11          you mean?
 12                   A.     So R -- I mean, I would say -- I don't
 13          -- I don't know if I would refer to REDIST as the
 14          program.      R is the program platform that runs the
 15          REDIST package.
 16                   Q.     When you say, "R is the program," what
 17          does that mean?
 18                   A.     So R is a computing language, and it's
 19          a -- I don't know if the precise word is platform
 20          or whatever that enables this computing language.
 21          And I consider that to be a program.               It's commonly
 22          used in statistics and data analysis.
 23                   Q.     And you said Dr. Imai helped develop
 24          that program; is that right?
 25                   A.     I don't think he helped develop R, but

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   1         he helped -- I think he was primarily responsible
   2         for REDIST package.
   3                  Q.    All right.        When did you learn how to
   4         use REDIST?
   5                  A.    Last year.
   6                  Q.    About when?
   7                  A.    I mean the second half.
   8                  Q.    Okay.     Do you use REDIST in your draft
   9         dissertation?
 10                   A.    No.
 11                   Q.    Do you use it for any of your Ph.D.
 12          work?
 13                   A.    No.     Well, no.
 14                   Q.    Do you use it in your articles for
 15          RealClearPolitics?
 16                   A.    No.
 17                   Q.    Have you us used it in other expert
 18          reports that you have done?
 19                   A.    Yes, yes.
 20                   Q.    Which one?
 21                   A.    There is an expert report in Kentucky,
 22          an expert report in Maryland, and an expert report
 23          in New York.     An expert report where I haven't -- I
 24          will say, I'll just say this one.                 I haven't been
 25          disclosed, and I'm not going to discuss that one

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   1         obviously.     Off the top of my head that is all I
   2         can think of.
   3                  Q.    In those expert reports where you use
   4         REDIST, are any of them racial gerrymandering
   5         cases?
   6                  A.    So can we just -- the one where I
   7         haven't been disclosed, can we just put that to the
   8         side, and say that I have mentioned it and not
   9         talked about it further, and my answers will be
 10          assumed to not include that case?
 11                   Q.    Yes.
 12                   A.    Okay.     Then it's not the -- then no.
 13          Then -- none of those cases which I have been
 14          disclosed are racial gerrymandering case.
 15                   Q.    Would you say you learned REDIST for
 16          your expert report work?
 17                   A.    I think I learned about it in one of
 18          the department colloquia.             Someone who is doing
 19          redistricting simulations on school boards.                    So
 20          that would have been where I was exposed to it, and
 21          kind of got the idea of how it worked.                 I don't
 22          think it -- well, I'm positive it didn't have SMC
 23          in it yet.     But that's where I have done the most
 24          of the work with it, yeah.
 25                   Q.    In your expert report work?

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   1                  A.    Yes.
   2                  Q.    Okay.     And did anyone teach you how to
   3         use REDIST?
   4                  A.    No.
   5                  Q.    You learned it on your own?
   6                  A.    I think I might have asked Mike Barber
   7         some questions about it, but not for this case.
   8         But for the most part I learned it on my own.                     I
   9         mean, that's -- that's kind of basic Ph.D. methods
 10          coursework is -- or, you know, problem set
 11          coursework is, you know, here is a package, go
 12          figure out how to use it, and answer some questions
 13          about it.     So, thankfully, Dr. Imai and his team
 14          put very useful demonstrations of it online.
 15                   Q.    You don't use it for your dissertation,
 16          right?
 17                   A.    It will have a mention in kind of
 18          literature review obviously for the redistricting
 19          paper.    But no, I won't be employing SMC for it as
 20          a constructive Monte Carlo program.
 21                   Q.    Right.      I think it is SMC.          What --
 22          what version of REDIST was used by Dr. Imai in his
 23          expert report?
 24                   A.    He has a special version that has to be
 25          downloaded from -- you get instructions on how to

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   1         download it from the -- from -- I think it's the
   2         GitHub.
   3                   Q.   Did you download it?
   4                   A.   Yes.
   5                   Q.   Do you know what it's called?
   6                   A.   I don't.
   7                   Q.   Would it surprise you to learn that
   8         it's called Markov Chain Monte Carlo or MCMC?
   9                   A.   Package?
 10                    Q.   Uh-huh.
 11                    A.   No, I didn't know that.            I'm shocked.
 12          Know one has used MCMC as a package name before
 13          this.
 14                    Q.   So it's -- what would you say is the
 15          thing that you downloaded from GitHub?
 16                    A.   In his documentation, there is a Read
 17          Me file that tells you how to download the version
 18          of his package the he used for this case.
 19                    Q.   And so that's what you did?
 20                    A.   I followed those instructions, yes.
 21                    Q.   You never used the thing that was
 22          downloaded before?
 23                    A.   Oh.    I mean, no.         I'm assuming he is
 24          giving truthful instructions on how to download it.
 25          It seemed to replicate his findings from the codes.

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   1         So yeah.
   2                   Q.   I'm sorry.         I -- yeah.         My -- my
   3         question was unclear.          What I mean is, the
   4         resulting package that came from that download, was
   5         that the first time you had used that package?
   6                   A.   Yeah, that's why I don't do -- I don't
   7         really change up the assumptions of his code that
   8         much or -- or anything of the sort.                   I wouldn't
   9         feel comfortable doing that.               I just wanted to
 10          produce his maps.
 11                    Q.   Right.      Are you familiar with Strata?
 12                    A.   Strata?
 13                    Q.   Uh-huh.
 14                    A.   No.     Is that -- I mean, well -- I -- I
 15          have heard the word Strata before, but I'm assuming
 16          you're using it in a particular context.                     So I
 17          don't know the particular context you're using it
 18          for.
 19                    Q.   I'm sorry.         I -- I -- I misread
 20          toggling between documents.              Give me one second.
 21                    A.   If he means Stata or Stata, the answer
 22          is yes.
 23                    Q.   Yeah.     I just want to make sure I get
 24          it right now, too.         Yep.     Yeah.         You mentioned a
 25          program or package called Stata.                   Can you tell us

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   1         what that is?
   2                  A.    It's another -- it's another
   3         programming language or programming package.                    I
   4         don't know -- I don't know if I would call it a
   5         language.     It's been around for a long time.                 I
   6         used it back in my master's program for the first
   7         time.
   8                  Q.    How often do you use Stata in your
   9         work?
 10                   A.    I don't prefer it.             I mean, a lot of --
 11          some of -- a good good chunk of my statistics
 12          coursework used it and learned how to use it there,
 13          but I prefer R.
 14                   Q.    Okay.     When was the last time you used
 15          Stata?
 16                   A.    Not for this report.
 17                   Q.    How so?
 18                   A.    It's -- Dr. Ragusa's code is written in
 19          Stata or State.
 20                         THE WITNESS:         It's S-T-A-T-A for the
 21          court reporter.
 22                         Actually, I think -- there may have
 23          been another expert court since then that was
 24          written in Stata that I executed.                 It had code in
 25          Stata.

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   1                   Q.   Do you know that for sure?
   2                   A.   I'm almost positive that I have used it
   3         for something else, some replication since then.
   4                        Oh, the -- the -- what do you call it?
   5         It's for my dissertation.             The burden paper did
   6         their work in Stata so to make sure I was
   7         replicated correctly in R, I had to run it in
   8         Stata.
   9                   Q.   Was that the last time you used Stata?
 10                    A.   Yeah.
 11                    Q.   What was the last time before that?
 12                    A.   For this paper or for this expert
 13          report.
 14                    Q.   And the last time before that?
 15                    A.   I couldn't say.           The last time -- the
 16          last time I can say with certainty would have been
 17          probably for my longitudinal data analysis class
 18          that was in the School of Public Health.                     And it
 19          was big over there.         I have no idea if I have used
 20          it in the interim.         I'm sure I have because there
 21          is still people who program in it.
 22                    Q.   But you can't remember when exactly?
 23                    A.   No, I couldn't give particular
 24          particulars on it.
 25                    Q.   All right.        You testified and/or filed

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   1         expert reports in many voting rights cases; is that
   2         right?
   3                   A.    Yes.
   4                   Q.    How many would you say?
   5                   A.    Maybe 15.
   6                   Q.    But you have only once ever been an
   7         expert for the plaintiff's side; is that right?
   8                   A.    That's right.
   9                   Q.    What case was that?
 10                    A.    That was -- well, actually, no.                 That's
 11          not true.      Twice.
 12                    Q.    What are both of those cases?
 13                    A.    The challenges to the New York
 14          redistricting plan and the challenge to the
 15          Maryland redistricting plan.
 16                    Q.    Were the plaintiffs in either of those
 17          cases racial minorities?
 18                    A.    I didn't meet them, so I have no clue.
 19                    Q.    Were they making racial gerrymandering
 20          claims?
 21                    A.    They were not.
 22                    Q.    Were they claiming that the state had
 23          discriminated against them based on race?
 24                    A.    They did not.
 25                          (EXHIBIT 10, Trende New York Report,

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   1         was marked for identification.)
   2                        (EXHIBIT 11, Common Cause v. Rucho, was
   3         marked for identification.)
   4                        (EXHIBIT 12, New York Redist Opinion,
   5         was marked for identification.)
   6         BY MR. TRIVEDI:
   7                  Q.    I want to turn to the New York case.
   8         That's the redistricting case this year, correct?
   9                  A.    Correct.
 10                   Q.    You didn't list your work in that case,
 11          in your expert report in this case, did you?
 12                   A.    Um, I will take your assertion as true.
 13                   Q.    Do you want to check your expert report
 14          in this case real quick?
 15                   A.    I was going to do a search for it, but
 16          I can't remember how to pronouns or spell the name.
 17          I don't see it in there, no.
 18                   Q.    Okay.     Do you know when you submitted
 19          your expert report in the New York case?
 20                   A.    I don't.
 21                   Q.    I'm going to pull it up for you.                 Give
 22          me one second.        Can you see that, Mr. Trende?
 23                   A.    (No verbal response).
 24                   Q.    I'm sorry.        Has it come up for you yet?
 25                   A.    Yes.

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   1                  Q.    I'm scrolling down.                Can you read
   2         what's there in the middle?
   3                  A.    Expert Report of Sean P. Trende,
   4         February 14th.        And then the embarrassing typo on
   5         the front page of 2021.
   6                  Q.    The date is actually 2022; is that
   7         right?
   8                  A.    That's correct.
   9                  Q.    Now, scrolling up to the caption, do
 10          you recognize that as the caption in the New York
 11          case?
 12                   A.    Yes.
 13                   Q.    Okay.     And -- so would you agree that
 14          you submitted this report in the New York case on
 15          February 14th, 2022?
 16                   A.    Yes.
 17                   Q.    And do you remember what date you
 18          submitted your expert report in this case?
 19                   A.    It says February 10th at the bottom of
 20          what I have up.
 21                   Q.    Okay.     And you didn't list the New York
 22          case in your South Carolina -- in the export report
 23          in this case, did you?
 24                   A.    No.
 25                   Q.    Were you working on the New York export

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   1         report on February 10th?
   2                  A.    Yes.
   3                  Q.    And in the New York case, or in the New
   4         York export report, you don't list your South
   5         Carolina expert report either, do you?
   6                  A.    I, again, will take your word for it.
   7                  Q.    Okay.     And you had certainly submitted
   8         your expert report in this case by the time you
   9         submitted your export report in New York, correct?
 10                   A.    That's right.
 11                   Q.    And you didn't list it?
 12                   A.    No.     It does -- again, I'll take your
 13          stipulation.     I probably forgot to update it in the
 14          craziness of filing.
 15                   Q.    Okay.     I'm going to take this --
 16                   A.    I mean, they're four days apart so...
 17                   Q.    So you were working on them at the same
 18          time?
 19                   A.    Yes.     I wouldn't have listed it here
 20          because I don't think I have been disclosed yet,
 21          and I probably just forgot the New York.
 22                   Q.    What do you mean you wouldn't have
 23          listed it here because you wouldn't have been
 24          disclosed yet?
 25                   A.    I don't list work where I haven't been

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   1         disclosed as an expert.
   2                    Q.   You don't think you were disclosed as
   3         an expert in New York four days before you
   4         submitted your expert report?
   5                    A.   I don't think I was.               Maybe they did
   6         expert witness disclosures, and I wasn't aware of
   7         it.      But I don't think we know -- we certainly
   8         didn't know who their experts were going to be
   9         until we received their report in that case.
 10                          In that cases -- cases -- cases that
 11          cycle are a little bit of a fire drill because we
 12          got to census data so late, so it's -- it's been
 13          kind of a nightmare.
 14                     Q.   Uh-huh.      Are there any other case that
 15          you didn't list in your expert report in this case?
 16                     A.   Well, let's see.            So that Maryland case
 17          that we talked about.
 18                     Q.   Were you working on an expert report in
 19          the Maryland case when you submitted your expert
 20          report in this case?
 21                     A.   Yeah.     Yeah.      It may have been in two
 22          expert reports.         I don't remember when we got
 23          started on the state senate stuff.
 24                     Q.   And you didn't list it in your expert
 25          report in this case?

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   1                   A.      No, I wouldn't disclose myself as an
   2         expert.        I don't think I have ever done that.
   3                   Q.      What is the case name in Maryland?
   4                   A.      It's Szelgia I think, S-Z-E-L-G-I-A.
   5                   Q.      Are you disclosed now?
   6                   A.      Yes.
   7                   Q.      But you didn't send us your reports or
   8         update your report to note that at any point, did
   9         you?
 10                    A.      No.
 11                    Q.      Okay.     Will you send us that
 12          information now?
 13                    A.      Oh, sure.       I'm happy to send you the
 14          expert reports.
 15                    Q.      Okay.     Are there any other cases that
 16          you decided that you wouldn't disclose yourself as
 17          an expert?
 18                    A.      Now -- and see, this is a genuine
 19          oversight.        The North Carolina political
 20          gerrymandering cases are not on here.                    I did two
 21          short expert reports that don't involve simulations
 22          in those cases.
 23                    Q.      And is that because of the fact that
 24          you weren't disclosed or you just didn't list them?
 25                    A.      That -- that was a mistake.

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   1                  Q.    Okay.
   2                  A.    Yeah.
   3                  Q.    And I think you mentioned the case in
   4         Kentucky as well.        I don't see that in your expert
   5         report in this case?
   6                  A.    I hadn't even been hired by the time
   7         I -- I don't think I got hired in that until pretty
   8         recently.
   9                  Q.    Okay.     You're hired now?
 10                   A.    Yes.    Dr. Imai should have my report.
 11                   Q.    Well, have you turned it over to the
 12          Plaintiffs?
 13                   A.    No.
 14                   Q.    Will you do that now?
 15                   A.    Happily.       I mean, you can get it from
 16          Dr. Imai a lot quicker, but, yes.
 17                   Q.    Dr. Imai doesn't have the same
 18          obligations that you do.
 19                         What is that Kentucky case name?
 20                   A.    I don't know.
 21                   Q.    Can you look that up for us --
 22                   A.    It's in Kentucky -- it's in Kentucky
 23          State Court.
 24                   Q.    Okay.     Any other cases that you did not
 25          put on your expert report in this case that you are

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   1         working on?
   2                  A.    Well, like I said, and we kind of
   3         agreed earlier that with one of the cases, because
   4         I haven't been disclosed as a witness yet, it is
   5         okay not to talk about it, and I'm not going to
   6         talk about it.     I'll -- at the break, I will e-mail
   7         to counsel my reports in New York, Maryland, and
   8         Kentucky, and I will also check to see if there are
   9         any other reports that I can't think of right now
 10          that I have sent along.
 11                   Q.    In North Carolina?
 12                   A.    If I even have those, but sure.
 13                   Q.    Do you have drafts?
 14                   A.    I'm sure I do, but that would be
 15          protected information.           So I'll see if I have
 16          finalized signed and send them to you since they're
 17          in federal court.
 18                   Q.    You're aware that we have a Protective
 19          Order in this case, right?
 20                   A.    Yeah.     I guess.        Actually, no, I don't
 21          know that.
 22                         (EXHIBIT 3, NAACP vs. McCrory, was
 23          marked for identification.)
 24          BY MR. TRIVEDI:
 25                   Q.      Okay.      I want to talk about some of

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   1         cases that you did list in your CV.                   First is NAACP
   2         v. McCrory.
   3                        Do you remember that case?
   4                  A.    Yes.
   5                  Q.    So I want to pull up quickly page five
   6         of your report.        Can you see that, Mr. Trende?
   7                  A.    Yes.
   8                  Q.    Can you read Paragraph 14?
   9                  A.    "I authored two expert reports NAACP v.
 10          McCrory #13CV658 Federal District of North
 11          Carolina, which involved challenges to multiple
 12          changes to North Carolina's voter laws, including
 13          the elimination of a law allowing for counting of
 14          ballots casted in the wrong precinct.                   I was
 15          admitted as an expert witness and testified at
 16          trial.    My testimony discussed the “effect” prong
 17          of the Voting Rights Act claim.                   I did not examine
 18          the issues relating to intent.
 19                   Q.    Okay.     Are you aware that there was an
 20          opinion in this case?
 21                   A.    Yes.
 22                   Q.    Have you read that opinion?
 23                   A.    It's about 600 pages long, and it's
 24          been a while, but yes.
 25                   Q.    Did you read the whole thing at the

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   1         time it came out?
   2                  A.     Probably not.
   3                  Q.     Are you aware that it discusses your
   4         testimony and your expert opinion?
   5                  A.     The District Court opinion, yeah.
   6                  Q.     Okay.     I'm going to pull that up now.
   7                         Can you see that, Mr. Trende?
   8                  A.     Yes.
   9                  Q.     And I know that caption is long, but do
 10          you understand this to be the opinion in the case
 11          North Carolina State Conference NAACP v. McCrory?
 12                   A.     Yes.
 13                   Q.     Okay.     You're right that it's a long
 14          opinion.      I'm going to go to page 63.
 15                   A.     And just to clarify, I listed this
 16          opinion which is about 600.               I see it's 200 here.
 17                   Q.     That's fine.         Thanks.
 18                          Do you see Note 71 here?
 19                   A.     Yes.
 20                   Q.     Do you see that it references your
 21          name?
 22                   A.     Yes.
 23                   Q.     And do you see at the bottom, I may
 24          even be able to highlight it for you.                  Can you read
 25          that part that I just highlighted?

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   1                  A.    "In any case, this court concludes
   2         Mr. Trende is qualified to present and organize the
   3         laws of the fifty states."
   4                  Q.    That was the extent of the expert
   5         opinion that the court allowed in this case, right?
   6                  A.    As long as we agree that it didn't rule
   7         on any other part.       I don't know if it ever cited
   8         to any other part, but I'll take your stipulation
   9         that it didn't.
 10                   Q.    Did the court accept an opinion about
 11          the VRA?
 12                   A.    That's a -- that had to do with the
 13          totality of the circumstances test, so that was
 14          part of VRA claim.
 15                   Q.    But when the court says, "Mr. Trende is
 16          qualified to present and organize the laws of the
 17          fifty states," was the VRA included in that part?
 18                   A.    So the case involved a challenge to a
 19          variety of laws, and, at least to my understanding,
 20          part of how Defendants wanted to make their
 21          totality of the circumstances argument for the
 22          Voting Rights Act was by arguing that their laws --
 23          that the -- that the state of laws in North
 24          Carolina that brought about wasn't anything
 25          particularly unusual.        And so they had to do a --

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   1         for part of the analysis, they had to do a
   2         fifty-state survey of -- of, you know, how many
   3         days early voting states offer, whether it's
   4         same-day registration was allowed.              So this was
   5         used for the Voting Rights Act claim.
   6                  Q.    Did the Court say you were qualified to
   7         present and organize -- to prevent on the Voting
   8         Rights Act?
   9                  A.    No.   It does not say that, but this
 10          opinion was offered as part of a Voting Rights Act
 11          claim.
 12                   Q.    But you didn't say in your expert
 13          report, in this case, that the court only qualified
 14          you as to the laws of the fifty states and not the
 15          Voting Rights Act, correct?
 16                   A.    No, I don't think I was offered as a
 17          Voting Rights Act expert in that case.
 18                   Q.    Great.
 19                   A.    As a matter of fact, it says what I was
 20          offered at the top of footnotes 51 or 71, sorry.
 21                   Q.    And going back to your expert report,
 22          you say, "My testimony discussed the affect from
 23          the Voting Rights Act on this claim."
 24                         You did not include in your expert
 25          report the fact that you were not qualified as an

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   1         expert other than when you write that claim; is
   2         that right?
   3                   A.      I wasn't offered as an expert on the
   4         Voting Rights Act.           I was offered as an elections
   5         expert.        I mean, the exact verbiage is on that we
   6         just saw, and so that testimony went to the Voting
   7         Rights Act claim.          I don't think I'm being offered
   8         as an expert on Shaw claims in this case, but if I
   9         were to summarize my opinion, I would certainly say
 10          it has to do with Shaw claim.
 11                    Q.      I'm now with going to page 85 of that
 12          opinion.
 13                            Do you see a Footnote 112?
 14                    A.      Yes.
 15                    Q.      Can you read Footnote 112, up to the
 16          citation that starts C?              You don't have to read the
 17          citation.
 18                    A.      "At trial Mr. Trende testified that
 19          Utah does not permit out-of-precinct voting.
 20          However, it appears that Utah will have ballots
 21          casts in the wrong precincts so long as they're
 22          casted in the correct county."
 23                    Q.      So is it fair to say that you made a
 24          mistake about whether Utah permits out-of-precinct
 25          voting?

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   1                  A.    That certainly seems to be what the
   2         Court found, yes.
   3                  Q.    Did you put that in your expert report
   4         in this case?
   5                  A.    No.
   6                        (EXHIBIT 4, Ohio Organizing
   7         Collaborative v. Husted, was marked for
   8         identification.)
   9         BY MR. TRIVEDI
 10                   Q.    Okay.     I want to talk about another
 11          case where you were an expert at Ohio Democratic
 12          Party versus Husted.          So give me just a second to
 13          pull it up.
 14                         So you admit in your expert report in
 15          this case that the judge in the Husted case, quote,
 16          "Refused to consider one of your opinions,"
 17          correct?
 18                   A.    Correct.
 19                   Q.    And you characterized it in your expert
 20          report as the judge, quote, "Believed you should
 21          have done more work to check the data behind the --
 22          behind the -- that the data behind the application
 23          was accurate," correct?
 24                   A.    That is my recollection, yes.
 25                   Q.    Okay.     Do you know that there was an

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   1         opinion in the Husted case of law?
   2                  A.    Yes.
   3                  Q.    You read it?
   4                  A.    Probably eight years ago, but yeah.
   5                  Q.    Okay.     Did you read it at the time,
   6         eight years ago?
   7                  A.    I would assume so, yes.
   8                  Q.    Do you think you learned any lessons
   9         from it?
 10                   A.    I would hope so.            You like to think you
 11          learn from everything you do.
 12                   Q.    You're not sure though?
 13                   A.    No, I'm not sure.
 14                   Q.    Okay.     Do you see the paragraph where I
 15          have highlighted the first couple words?
 16                   A.    "Even if the Court admitted the maps,
 17          the Court would," yes, I see that.
 18                   Q.    Okay.     Could you read the part that I
 19          highlighted?
 20                   A.    Yeah.     "Even if the Court admitted the
 21          maps or recorded them as well as Trende's opinion
 22          of what they visually demonstrate little weight.
 23          While Trende offers them to demonstrate the
 24          relatively convenient locations for early voting
 25          centers to non-white voters, they do not account

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   1         for the population density of the precincts or the
   2         myriads of other factors related to convenience and
   3         required no mechanism by which to determine the
   4         actual distance between the EIP voting center and
   5         the locations on the map."
   6                  Q.    Okay.     The Court here, accorded your
   7         opinion, about maps, quote, "little weight;" is
   8         that right?
   9                  A.    That's right.
 10                   Q.    Did you put this in your expert report
 11          in this case?
 12                   A.    No.
 13                   Q.    Sorry, give me one second.               Okay.     I'm
 14          sorry, it's hard to see with the way Zoom is set
 15          up, but can you see the part that I have
 16          highlighted now?
 17                   A.    Yes.
 18                   Q.    Can you read that for me, please?
 19                   A.    "While Trende implied the data from
 20          Figure 44 was obtained during his work in NAACP v.
 21          V. McCrory, he does not identify the source of the
 22          data, let alone establish how he collected it or
 23          has testify to it's reliability.                  As accordingly,
 24          the Court will exclude Table 44."
 25                   Q.    Did you include this in your expert

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   1         report in this case?
   2                  A.    No.
   3                  Q.    All right.        There was a companion case
   4         called Ohio Organizing Collaborative v. Husted; is
   5         that right?     You listed that in your report?
   6                  A.    Yeah.     I think it seems sequentially --
   7         I think this case -- one of the cases settled, and
   8         then a different group of plaintiffs kind of re-
   9         brought up the mantle, but I don't remember the
 10          order.
 11                   Q.    Okay.     Do you remember an opinion
 12          coming out in Ohio Organizing Collaborative?
 13                   A.    I'm sure there was one.
 14                   Q.    Okay.     I'm going to show it to you.
 15                         To you see the part I have highlighted?
 16                   A.    Yes.
 17                   Q.    Can you read that for me?
 18                   A.    "As explained in greater detail in the
 19          Court's Order on Plaintiff's Motion to Exclude
 20          Trende as an expert, much of his report is
 21          irrelevant to the Court's analysis."
 22                   Q.    You didn't include this part in your
 23          export report in this case, did you?
 24                   A.    No.
 25                         (EXHIBIT 5, WHITFORD v. GILL, was

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   1         marked for identification.)
   2         BY MR. TRIVEDI:
   3                  Q.    Okay.     The next case I want to talk
   4         about is Whitford v. Nickel or Whitford v. Gill in
   5         Wisconsin.
   6                        Do you remember that case?
   7                  A.    Yes.
   8                  Q.    So in your expert report in this case,
   9         you said at Paragraph 19, "I authored expert
 10          reports in these cases, which were efficiency
 11          gap-based redistricting cases filled in Ohio,
 12          Wisconsin, and North Carolina;" is that right?
 13                   A.    That's right.
 14                   Q.    You don't say anything about how the
 15          Court treated your expert report or opinions; is
 16          that right?
 17                   A.    No.
 18                   Q.    Okay.     Have you read the opinions in
 19          these cases?
 20                   A.    I don't think I have in the Ohio case.
 21          Certainly in the North Carolina and Wisconsin
 22          cases.
 23                   Q.    You did read the Wisconsin opinion?
 24                   A.    Yeah.
 25                   Q.    Can you tell us what the gist is of

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   1         your opinion in this case?
   2                  A.    This case is guilty Whitford?
   3                  Q.    Uh-huh.
   4                  A.    The Whitford v. Nickel?
   5                  Q.    Yes.
   6                  A.    I believe in that case, the opinion was
   7         about clustering in Wisconsin.                Political
   8         clustering.
   9                  Q.    What about it?
 10                   A.    So if partisans are clustered in the
 11          state.    So the -- the efficiency gap, at least
 12          purports to measure packing and cracking of
 13          partisans.     And so I think the argument the counsel
 14          wanted to make was that if democrats were packed in
 15          a few key districts, or in a few areas that it
 16          would naturally inflate their efficiency gap.
 17                   Q.    Okay.
 18                   A.    It would be unintentionally
 19          gerrymandering to borrow a phrase.
 20                   Q.    And you submitted maps in this case,
 21          right?
 22                   A.    Yes.
 23                   Q.    Okay.     Can you read the part that I
 24          have highlighted from the -- oh.                  Sorry about that.
 25                         Can you read the part I have

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   1         highlighted?
   2                  A.    Yeah.     "Moreover, the color coding on
   3         Mr. Trende's maps, although a useful demonstrative,
   4         reported to serve a substitute for quantitative
   5         data on the margin of victory in each county.
   6         Without this information we cannot know whether,
   7         for example, a county won by a Republican
   8         presidential candidate was deeply or narrowly
   9         Republican."
 10                   Q.    Okay.     Can you -- well, can you read
 11          this opinion, too?
 12                   A.    "In our view this evidence is worthy of
 13          little if any weight.
 14                   Q.    Okay.     This is two cases in a row where
 15          the opinion give your evidence little weight; is
 16          that right?
 17                   A.    I will assume that we're going
 18          chronologically, then yes.
 19                   Q.    No.     Just two there a row that I have
 20          showed you just now?
 21                   A.    Yes.
 22                   Q.    You didn't put the fact that the Court
 23          accorded your evidence around maps, little if any
 24          weight, in your expert report in this case, did
 25          you?

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   1                  A.    No.
   2                        (EXHIBIT 6, Fair Fight Action v.
   3         Raffensperger, were marked for identification.)
   4                        (EXHIBIT 7, League of Women Voters of
   5         Ohio v. Ohio Redistricting Commission, was marked
   6         for identification.)
   7         BY MR. TRIVEDI:
   8                  Q.    Okay.     The next case is Fair Fight
   9         Action v. Raffensperger.
 10                         Do you remember this case?
 11                   A.    Yes.
 12                   Q.    In your expert report in this case, you
 13          admit that you were rejected in the Raffensperger
 14          case; is that right?
 15                   A.    That's correct.
 16                   Q.    Because you lacked sufficient
 17          credentials for the opinion that you were trying to
 18          give?
 19                   A.    From my read of it, it was because the
 20          judge -- because the judge felt that I lacked
 21          sufficient expertise in elections administration.
 22          Which I -- I'll be honest, I'm not sure what that
 23          has to do with my opinion that I rendered there,
 24          but that's my understanding.
 25                   Q.    Do you remember the judge having

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   1         anything to say about your qualifications to be an
   2         expert in that case?
   3                  A.    I mean, he certainly took into
   4         consideration the fact that I didn't have a Ph.D.
   5         and hadn't written peer-reviewed articles.                  I
   6         remembered him leaving open the possibility that I
   7         would be -- have that sufficient expertise in areas
   8         like elections.     But as I recall --
   9                  Q.    Do you still --
 10                   A.    -- as I recall, at least, the -- the
 11          final conclusion was that I didn't have expertise
 12          as an elections administrator, which is true.
 13                   Q.    And you're right, the Court did note
 14          that you had never authored a peer-reviewed study
 15          or article, and never been asked to peer review the
 16          work of others.     Is that still the case?
 17                   A.    That -- that last sentence is untrue or
 18          the last phrase.
 19                   Q.    How about the part -- was it true at
 20          the time that you had never authored a
 21          peer-reviewed study or article?
 22                   A.    That's true.
 23                   Q.    Is it still true?
 24                   A.    That's still true.           I had peer reviewed
 25          other's articles, but I don't know where he got

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   1         that.
   2                  Q.    Okay.     The next is another case called
   3         Ohio Organizing Collaborative, but it's a different
   4         one on political gerrymandering?
   5                  A.    That's right.
   6                  Q.    For -- right.
   7                        For these cases in your report in this
   8         case, you say that you authored an expert report
   9         and that the cases are, quote, "Pending in original
 10          action before the Ohio Supreme Court;" is that
 11          right?
 12                   A.    That's right.
 13                   Q.    Okay.     That's not true anymore; is that
 14          right?
 15                   A.    That was the -- the opinion has come
 16          down.    It may have come down by the time I
 17          submitted, and I just updated that, but yeah.
 18                   Q.    That's actually --
 19                   A.    Well, I mean, I guess there is still --
 20          there is still pending because there is this back
 21          and forth going on between the Court and
 22          legislature that's been kind of a nightmare.
 23                   Q.    Do you know --
 24                   A.    I think they had to file -- I think
 25          they had to file -- they had to file a new matter

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   1         for this last go round, but I don't think they did
   2         for the second and third.
   3                   Q.      Fair to say you don't know where the
   4         case stands right now?
   5                   A.      Oh, I do.       Like right now, at least the
   6         Congressional version had to be re-filed as a new
   7         matter.        But I don't remember -- you know, we're on
   8         like our fourth version of the maps now, and I
   9         think one, two and three all came out of the same
 10          action.
 11                    Q.      Do you know if there has been an
 12          opinion at all in this case concerning you?
 13                    A.      Yes.
 14                    Q.      Do you know when that came out?
 15                    A.      I think it was mid January.
 16                    Q.      Surprise you to learn it was January
 17          10th?
 18                    A.      That would be mid January, so no.
 19                    Q.      Okay.     And you -- you submitted your
 20          report in this case on February 10th, right?
 21                    A.      Correct.
 22                    Q.      So the actions were not pending before
 23          the Ohio Supreme Court when you wrote that; is that
 24          right?
 25                    A.      No, I think they were, because I think

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   1         that case survived for the first three rounds.                     And
   2         they only had to file new go rounds for this one.
   3                  Q.    Okay.     You didn't put anything about
   4         the January 10th opinion in your February 10th
   5         report in this case?
   6                  A.    That's correct.
   7                  Q.    In the Ohio Organizing Collaborative
   8         case, you compared an enacted map to maps submitted
   9         by other people; is that right?
 10                   A.    No.     Well, so define that.               I -- I --
 11          as I recall it, it was a -- it was compared to a
 12          counter bailing plan by representative Sykes, but I
 13          don't think it was submitted to the Court.
 14                   Q.    Do you compare an enacted map by a
 15          state government to other maps?
 16                   A.    Yes.     To a map that had been offered --
 17          when you said submitted, it sounded to me like you
 18          meant to the Court or by simulations.                     And I didn't
 19          do that when I wrote my report.                   To my
 20          understanding, those simulations had been put into
 21          the case.     But I did compare it to a map that had
 22          been suggested in the drafting process by
 23          representative Sykes.
 24                   Q.    Okay.     Did you read the January 10th
 25          opinion in this case?

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   1                  A.    Yes.
   2                  Q.    Okay.     Did you read the part that
   3         referenced you?
   4                  A.    Yes.
   5                  Q.    Okay.
   6                  A.    Or at least -- at least one of them,
   7         there maybe others.
   8                  Q.    Uh-uh.
   9                        In this case you were an expert along
 10          with a person named Michael Barber; is that right?
 11                   A.    Correct.
 12                   Q.    Okay.     Can you read this part that I
 13          have highlighted?
 14                   A.    "Dr. Barber and Trende mainly compared
 15          the adopted plan to plans introduced by Senator
 16          Sykes on September 1st and September 15th.                    They
 17          pointed out the various ways in which Senator Sykes
 18          plans are pro-democratic gerrymanders.
 19                   Q.    Okay.     Can you read this part now?
 20                   A.    Yeah.     "By showing that other plans are
 21          per Democratic gerrymanders are no noncompliant
 22          with Article -- but showing that other plans of
 23          pro-democratic gerrymanders are noncompliant with
 24          Article XI does not validate the adopted plan."
 25                   Q.    So taken together, does that mean to

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   1         you that showing that noncompliant maps are not
   2         compliant with the law, does not make the enacted
   3         map legal?
   4                  A.     At least in Ohio, with the
   5         gerrymandering casing, yes.
   6                  Q.     Do you disagree with the Court's
   7         opinion here?
   8                  A.     There is a fair amount of Ohio legal
   9         analysis that was -- that I don't know about
 10          frankly.      But I'm assuming, or -- or to my reading,
 11          if you had a choice between a -- what appeared to
 12          be a pro-Republican gerrymandering and a
 13          pro-democratic gerrymandering, as they only
 14          submitted submittal maps before the commission,
 15          that seems relevant to me, but the Court disagreed.
 16                   Q.     Do you think the Court got it wrong?
 17                   A.     I think on this point.           I think it is
 18          relevant that -- that the only two plans were
 19          apparently a pro-Republican gerrymandering or
 20          pro-democratic gerrymandering.
 21                   Q.     But the Court --
 22                          (Simultaneous speaking)
 23                   Q.     I'm sorry.      Go ahead.
 24                   A.     On the big picture, I mean, I think
 25          this case was mostly about whether the Court had

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   1         the power to strike down plans under the Ohio
   2         Constitution, and having found that yeah, I thought
   3         the plan had a Republican lead.
   4                  Q.    But I am asking a specify question,
   5         which is, the highlighted part that you just read,
   6         do you think the Court got that wrong?
   7                  A.    I think so.       I think it's a relevant
   8         part of the inquiry.        I don't know that it
   9         completely validates it.          I don't know that it was
 10          intended to completely win the case one way or the
 11          other, but I think it is relevant to want question.
 12                   Q.    I don't think you have answered
 13          question.     Do you think the Court got this part of
 14          the opinion wrong?
 15                   A.    I think I have.
 16                   Q.    And your answer is yes?
 17                   A.    My answer is to the extent that the
 18          question is, is this a relevant consideration that
 19          can be part of an argument for validating it, sure.
 20          For a stand, like standing along, if this were the
 21          only piece of evidence offered by all the
 22          plaintiffs, I guess not.
 23                   Q.    Because logically speaking, showing
 24          that another map is not compliant with the law says
 25          nothing about whether the enacted map is compliant

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   1         with the law?
   2                  A.    I just said I thought it was relevant.
   3                  Q.    But logically speaking?
   4                  A.    I would like to think I'm not being
   5         illogical.     I -- I think it's relevant.
   6                  Q.    Okay.     Now this is hard because at the
   7         bottom of the page and the top of the page so I'm
   8         just going to read it.
   9                        "Nor does it show that the commission
 10          attempted to comply with Article 11 Section 6A when
 11          it drew the adopted plan."
 12                         Do you take that to mean nor does your
 13          analysis about Senator Sykes' plan show what the
 14          commission attempted to do in drawing its own plan,
 15          is that your reading of that sentence?
 16                   A.    Can you show it to me?             Can you scroll
 17          down at the bottom and that would be easier?
 18                   Q.    Sure.     Sure.
 19                   A.    Because that's where the -- that's
 20          where it is.
 21                   Q.    You're right.          So why don't you read to
 22          yourself, if you don't mind, this sentence starting
 23          with "More."
 24                   A.    Let's see -- More -- I'm sorry.                 I
 25          think "it" is referring to showing that other plans

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   1         are pro-Democratic gerrymanders and not compliant
   2         with Article XI.      And that is the part of the
   3         analysis from the three experts.                 So I've forgotten
   4         the original question, but it does seem to go back
   5         to our original opinion.
   6                   Q.   So the question is:              Does an analysis
   7         of a non-enacting plan tell us anything about
   8         whether the legislature that enacted the plan
   9         intended or didn't intend to comply with a
 10          particular law?
 11                         MR. DIAMADUROS:         Object to the form.
 12                         THE COURT REPORTER:              I just need to
 13          know who objected, please.
 14                         THE WITNESS:       It certainly suggests the
 15          Supreme Court --
 16                         THE COURT REPORTER:              Who objected,
 17          please?
 18                         MR. DIAMADUROS:         That would be me,
 19          Konstantine Diamaduros.
 20                         THE COURT REPORTER:              Thank you.
 21                         THE WITNESS:       It certainly suggested
 22          the Supreme Court of Ohio thought that showing that
 23          a competing plan was also unconstitutional or it
 24          was also a gerrymander, doesn't mean that it
 25          complied with Article 11 Section 6A of Ohio law.

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   1         BY MR. TRIVEDI:
   2                  Q.    Do you think the Court got that wrong?
   3                  A.    I don't know even know what is in
   4         Article 11 Section 6A, so I can't opine on that.
   5                  Q.    Can you read this highlighted part?
   6                  A.    Yeah.     "Trende does not however offer
   7         an alternative way to measure partisan bias.                    More
   8         importantly, he does not offer testimony rebutting
   9         Dr. Roddens', R-O-D-D-E-N-S, or Dr. Imai, I-M-A-I's
 10          evidence that it is possible for the commission to
 11          draw a district plan that is compliant with Article
 12          11, and that does not favor republican candidates
 13          so heavily."
 14                   Q.    So, in this case, Dr. Imai submitted
 15          evidence that it was possible for the commission to
 16          draw a complaint plan; is that right?
 17                   A.    Yeah.     After I had submitted my report,
 18          he -- he and Dr. Rodden dropped the simulations in.
 19                   Q.    And you didn't offer an alternative way
 20          to measure partisan bias?
 21                   A.    I'm not sure any of partisan bias
 22          metrics are particularly good.
 23                   Q.    You didn't submit evidence rebutting
 24          Dr. Imai's evidence, that it was possible for the
 25          commission to draw a compliant plan?

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   1                  A.    I mean, I -- I couldn't.             I submitted
   2         my report, and they did it in their relay, which
   3         was cleverer lawyering.            But how was I supposed to
   4         rebut it?     I never understood this sentence in the
   5         Court's opinion to be perfectly honest.
   6                  Q.    Okay.     So you think the Court got this
   7         part wrong?
   8                  A.    I think it was impossible for me to
   9         rebut their testimony since they did it in the
 10          reply, and we didn't have an opportunity to do a
 11          surrebuttal.
 12                   Q.    You didn't offer it in your affirmative
 13          report, didn't you?
 14                   A.    We didn't -- the simulations weren't in
 15          the case at that point, so no.                How am I supposed
 16          to -- how am I -- how am I supposed to rebut
 17          Dr. Rodden's and Dr. Imai's evidence when it hadn't
 18          been submitted yet?
 19                   Q.    Were you aware that it was possible to
 20          draw a compliant plan when you submitted your
 21          affirmative report in this case?
 22                   A.    No.
 23                   Q.    You thought the only -- it was -- it
 24          was only possible for the state to draw illegal
 25          plans?

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   1                  A.    I had examined the question one way or
   2         the other.     I was only asked to compare states plan
   3         to the competing plan, and then one other competing
   4         plan that had been drawn by some citizens
   5         redistricting group, and so that's what I did.
   6                  Q.    So is your opinion now that it's
   7         impossible to draw a compliant plan in Ohio?
   8                  A.    I think it's very difficult, because --
   9                  Q.    Is it --
 10                   A.    I'm not sure it's -- I'm not sure it's
 11          possible because Ohio's -- and I'm not sure any of
 12          Dr. Rodden's or Dr. Imai's maps particularly were
 13          legal to be honest.       Because Ohio's redistricting
 14          laws are incredibly complex and convoluted, and I
 15          don't know how you would possibly -- at least with
 16          Dr. Imai's simulations, I don't know how you would
 17          possibly account for everything.
 18                   Q.    But the Court seems to think it is
 19          possible?
 20                   A.    The Court never saw the maps.               As far
 21          as I know, no one has seen the maps that were
 22          produced.
 23                   Q.    What I mean is, they used the word
 24          possible in this opinion, correct?
 25                   A.    Well, yeah.       But like I said, I'm not

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   1         sure that any of those maps actually comply with
   2         Ohio's convoluted laws.
   3                    Q.   Okay.
   4                    A.   And I don't think the Court is either
   5         because no one has seen those maps.                 I think Dr.
   6         Rodden was using a constructed Monte Carlo system,
   7         so I find it easier to believe that he had coded it
   8         up to comply with Ohio's bizarre laws.                  But I
   9         haven't seen Dr. Imai's code either, because,
 10          again, it was submitted as a rebuttal report.
 11          Sorry, I'm a little annoyed by the Court putting in
 12          there that I didn't rebut evidence that there is no
 13          way I could have rebutted.
 14                     Q.   Do you have more to say there?
 15                     A.   No.
 16                          (EXHIBIT 8, Democratic National
 17          Committee versus Reagan, was marked for
 18          identification.)
 19          BY MR. TRIVEDI:
 20                     Q.   I'm going to show you another opinion
 21          in a case that you didn't list in your report or
 22          CV.      Do you remember being an expert in a case
 23          called Democratic National Committee versus Reagan?
 24                     A.   No.
 25                     Q.   In Arizona?

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   1                   A.   No.
   2                   Q.   About out-of-precinct voting and
   3         third-party ballot collection?
   4                   A.   Okay.     I thought that was -- that was
   5         Brnovich.
   6                   Q.   Right.
   7                   A.   Right?      Okay.      Well, wasn't Reagan the
   8         one that was filed?
   9                   Q.   It was a pretty big case, right?
 10                    A.   Once it made it to Supreme Court, yeah.
 11                    Q.   Yeah.     It wasn't big at the District
 12          Court?
 13                    A.   I didn't think so.
 14                    Q.   Okay.     But you were an expert in this
 15          case --
 16                    A.   Yes.
 17                    Q.   -- is that right?
 18                    A.   Yes.
 19                    Q.   You didn't list it on your CV or in
 20          your report in this case?
 21                    A.   We will check.           But I will assume that
 22          I did not.     I will take your word for it.
 23                    Q.   Okay.     I am pulling up -- okay.              Can
 24          you see this, Mr. Trende?
 25                    A.   Yes.

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   1                   Q.     And can you read the highlighted part
   2         for me?
   3                   A.     Yes.    "Sean Trende critiqued
   4         Dr. Lichtman's analysis of Arizona's voting
   5         patterns and the history of racial discrimination,
   6         but offered no new information or analysis.                      The
   7         Court found some of his criticisms worth
   8         considering.       Overall, they were insignificant.
   9         For example, although Trende generally agreed with
 10          Dr. Lichtman that there was unexperienced racial
 11          polarized voting.          He made much of the irrelevant
 12          fact that Arizona voting is not as variably
 13          polarized as voting in Alabama."
 14                    Q.     So you did not include the piece of the
 15          opinion in the report in this case because you
 16          didn't even include this case in your report; is
 17          that correct?
 18                    A.     Yeah.     I should have included this
 19          case.
 20                    Q.     And in particular, this judge says that
 21          you made much of an irrelevant fact that Arizona
 22          voting is not as variably polarized as voting in
 23          Alabama.       Did the Court get that wrong?
 24                    A.     I don't think it's irrelevant, but the
 25          Court disagreed.

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   1                  Q.     Okay.     So this is another case where
   2         you pointed to factors outside of the law at issue
   3         as probative, and this is the second Court that
   4         says it was irrelevant, correct?
   5                  A.     I didn't point to anything as
   6         probative.      No experts get asked to answer
   7         questions that the Court may find interesting or
   8         irrelevant.      And if the Court doesn't find it
   9         interesting or irrelevant, that's the end of the
 10          case.    But I didn't give any -- any legal analysis,
 11          which I think you're suggesting with probative.
 12                   Q.     I'm not suggesting that.             Let's use the
 13          word relevant.         You say it's relevant that racially
 14          polarized voting is more polarized in Alabama, in
 15          this case, than Arizona.             The Court called it
 16          irrelevant, correct?           And in the previous case, you
 17          thought it was relevant that the Sykes map was more
 18          of a gerrymander than the inactive map, and the
 19          Court called it irrelevant, correct?
 20                   A.     Yes.
 21                   Q.     Okay.     I think we have been going for a
 22          while, and we're about to move onto another
 23          section.      So we could take a short break now or
 24          make it a very early lunch.               I'll leave that up to
 25          you, Mr. Trende, and your attorneys.

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   1                           THE VIDEOGRAPHER:             Let me take us off
   2         the record so it is not on the transcript.                       10:56
   3         a.m.     We're going off the record.
   4                           (A brief recess was taken.)
   5                           THE VIDEOGRAPHER:             The time on the
   6         monitor is 11:24 a.m., and we're back on the
   7         record.
   8         BY MR. TRIVEDI:
   9                   Q.      Hi, Mr. Trende.           We're back on the
 10          record.        Are you ready to get started again?
 11                    A.      Yes.
 12                    Q.      Okay.     Just for the record, did you
 13          have any conversations with counsel during that
 14          break?
 15                    A.      I e-mailed them the reports that you
 16          requested, but I did not confer with them.
 17                    Q.      Okay.     Did they respond to you?
 18                    A.      I would say not to my knowledge and I
 19          can check my Outlook at the next break.
 20                    Q.      Of course.        Okay.
 21                            MR. DIAMADUROS:           Just for the record,
 22          we have been responded to that e-mail.
 23                            MR. TRIVEDI:         I appreciate that.          Thank
 24          you.
 25                            (EXHIBIT 9, Report of Dr. Kosuke Imai,

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   1         was marked for identification.)
   2         BY MR. TRIVEDI:
   3                  Q.    So I want to pull up a document that we
   4         have marked Trende Exhibit 9.                Mr. Trende, I know
   5         this is a long document, but based on the first
   6         page, do you recognize it?
   7                  A.    It looks like the expert report of
   8         Dr. Imai in this case.
   9                  Q.    Okay.     Have you reviewed this document?
 10                   A.    Yes.
 11                   Q.    I'm going to refer to it from time to
 12          time, but I'll take it off screen share now.
 13                   A.    Okay.     And you asked what date I would
 14          have gotten started with my report.                   It would have
 15          been January 24th.
 16                   Q.    I see.      Is that the day that Dr. Imai's
 17          report -- you received Dr. Imai's report?
 18                   A.    Almost certainly.             I mean, unless they
 19          delayed circulating it by a day, but within --
 20          let's say within the vicinity of January 24th.
 21                   Q.    Great.      Thanks for that clarification.
 22                         Okay.     Going to Dr. Imai's report, I'm
 23          scrolling down to -- I'm sorry.                   I apologize.     I'm
 24          going to back to your report where we discussed
 25          Dr. Imai's report.

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   1                         Can you read the two pieces that I have
   2         highlighted right there?
   3                    A.   "I was asked to review the reports of
   4         Plaintiff's experts regarding the newly enacted
   5         districts for the South Carolina House of
   6         Representatives.        In the particular, I was asked to
   7         opine on the expert report of Dr. Kosuke Imai and
   8         Dr. Jordan Ragusa, R-A-G-U-S-A."                   I guess it
   9         skipped in parens, (see my report).
 10                          Acknowledging referring to them see my
 11          report, Ragusa report throughout this.                   That's not
 12          a direct quote, but I left out the parentheticals.
 13                          Getting back to the quote.               "I do not
 14          critique Dr. Imai's mathematics here.                   Instead, I
 15          provide context to assist the Court in evaluating
 16          his maps."
 17                     Q.   Okay.     Is it still true that you do not
 18          critique Dr. Imai's mathematics with respect to
 19          this case?
 20                     A.   (Inaudible.)
 21                     Q.   Sir, I think that actually cut out for
 22          me.      Could you repeat that answer?
 23                     A.   That's right.
 24                     Q.   Do you agree that his simulations
 25          methodology that he uses in his report is widely

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   1         accepted?
   2                  A.    Yes.
   3                  Q.    And that he applied it correctly in
   4         this case?
   5                  A.    I assume.      So -- so let's back up.             He
   6         has this new version.         You have to do this special
   7         download from -- my -- my assumption is that it's
   8         fine, and I don't know offer any critique of his
   9         math or methodology.
 10                   Q.    Do you agree that he is qualified to
 11          conduct this sort of analysis?
 12                   A.    He seems qualified.               I mean, certainly
 13          to run simulation and write simulation code, yes.
 14                   Q.    You said earlier that he helped develop
 15          the REDIST package; is that right?
 16                   A.    Yes.   He is certainly qualified to
 17          write simulation code and run them, yes.
 18                   Q.    He -- do you know whether he has
 19          published peer-reviewed papers about redistricting?
 20                   A.    I'm certain he has.
 21                   Q.    You cite one in your expert report,
 22          don't you?
 23                   A.    Um, I don't think McCartan and Imai's
 24          paper has been published yet, but I know it's --
 25          it's relied upon, and the method has been relied

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   1         upon by Courts so...
   2                        I know the McCartan and Imai paper is
   3         under peer review right now, but I don't think it's
   4         been officially published yet.
   5                  Q.    Okay.     By comparison, you have no
   6         peer-reviewed papers, correct?
   7                  A.    Still no peer-reviewed papers.
   8                  Q.    Okay.     So starting at page eight in --
   9         in your report, you assert with respect to
 10          Dr. Imai's simulation analysis that 5,000 maps does
 11          not mean 5,000 unique maps; is that right?
 12                   A.    That's right.
 13                   Q.    And as part of your analysis, to come
 14          to that conclusion, you conducted a sampling; is
 15          that right?
 16                   A.    Right.
 17                   Q.    Of how many maps?
 18                   A.    Ten.
 19                   Q.    Okay.     To get these ten maps out of
 20          5,000, did you use a random number generator?
 21                   A.    Yes.
 22                   Q.    And which one did you use?
 23                   A.    I think I ran a uniform sample across
 24          5,000 in R.
 25                   Q.    Okay.     Did you produce the code or any

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 1         resulting information or documents that would
 2         confirm your use of that random number generator?
 3                  A.   I think I produced the code, yes.
 4                  Q.   And did that random number generator
 5         produce an electronic or written output?
 6                  A.   It would have created, in R, an object
 7         -- a vector of length ten that had ten numbers in
 8         it.
 9                  Q.   Okay.     Did you produce an image of that
10         vector or list?
11                  A.   No.     Well, I mean, you can see the map
12         numbers in the map that was produced.                So that
13         would be the vector, or those would all be at least
14         within the vector.
15                  Q.   Well, in your expert report you don't
16         actually produce all ten numbers for any of the
17         clusters; is that right?
18                  A.   That's right.          There are certain ones
19         within those ten that produced duplicates within a
20         sample of ten.
21                  Q.   Even beyond duplicates, you didn't
22         produce certain results that the random number
23         generator produced, correct?
24                  A.   No.
25                  Q.   No, you -- when you sampled, for

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 1         example, ten maps from the Chester cluster, you did
 2         not include all ten maps in your expert report, did
 3         you?
 4                  A.   No, because the point is simply that it
 5         produces duplicates.         I mean, that's it.
 6                  Q.   Right --
 7                       (Simultaneous speaking)
 8                  A.   If your point is just that it produced
 9         duplicates, then you show the duplicates.
10                  Q.   No, that's not my point.              My point is
11         that you say you ran a sample of ten maps for each
12         cluster; is that right?
13                  A.   Right.
14                  Q.   You didn't include all ten maps for
15         every cluster in your expert report, did you?
16                  A.   No, because my only point was that it
17         produces duplicates.
18                  Q.   Can you guarantee right now that for
19         every sampling of ten maps, every map you didn't
20         put in the report was a duplicate?
21                  A.   Yes.     I'm sorry.         Wait.    Wait.      Wait.
22         Can you rephrase that?          I want to make sure I
23         answer it correctly.
24                  Q.   Okay.     For all of the clusters, you say
25         you conducted a ten-map sampling; is that right?

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 1                  A.    Right.
 2                  Q.    Okay.     For all of clusters, you don't
 3         actually include the ten maps that were the result
 4         of the random sampling in the report itself,
 5         correct?
 6                  A.    Correct.
 7                  Q.    And you haven't produced them to us
 8         otherwise either, correct?
 9                  A.    Correct.
10                  Q.    So are you saying now, that every map
11         that is not contained in your report is a duplicate
12         of something that is contained in the report?
13                  A.    Oh, no.      That's not -- I'm glad we went
14         through that.     No.      No.
15                  Q.    Okay.
16                  A.    Sorry.      There is a negative in there.
17         Yeah, no.     That is not my point.
18                  Q.    So we have no way of knowing what the
19         results were for your random sampling unless
20         they're contained in your report?
21                  A.    Well, right because the only point is
22         that it produces duplicates.
23                  Q.    You just said -- you just said that not
24         every map that you included from the report is a
25         duplicate.     There are some non-duplicates that you

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 1         excluded from the report, correct?
 2                  A.   But my point is not -- I'm sorry if it
 3         came across this way as the report.                My point is
 4         certainly not that every map within Dr. Imai's
 5         report is a duplicate.          I did not mean to suggest
 6         that.    There are duplicates.            This process will
 7         produce duplicate maps.           It's not 5,000 completely
 8         different maps because I think if you don't know
 9         much about how the simulations work, you -- a
10         natural assumption might be that, you know, these
11         are just like 5,000 maps that are all radically
12         different.    So like I said at the beginning, I just
13         think it's important context.
14                  Q.   But focusing on the sampling point, you
15         agree that even though all you did was sample ten
16         for each cluster, you didn't even include all ten
17         results in your report, correct?
18                  A.   Oh, that's right.             Because my point --
19         my point is simply --
20                  Q.   Yeah.
21                       (Simultaneous speaking)
22                  A.   I'm not done with my answer.
23                  Q.   Please.      Please.
24                  A.   Because my point is not that his maps
25         don't produce unique maps.             It's that they do

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 1         sometimes produce duplicates.
 2                  Q.   But in coming to your point, you didn't
 3         allow the reader to compare the maps that you
 4         included in the report with maps that were -- with
 5         the other maps that were created by the random
 6         number generator, correct?
 7                  A.   Because I think it's clear from how the
 8         report is written that not every map within the
 9         report is a duplicate.
10                  Q.   But you also --
11                       (Simultaneous speaking)
12                  A.   I think if a -- I think if a -- if a --
13         an average reasonable reader sees the header that
14         says -- you know, it produced -- or not the header,
15         but sees a sentence saying it produces duplicates
16         maps, I think ten you report duplicates, I think
17         the natural intuition is that the other six aren't
18         duplicates.      But I'm happy, like I said, if it's
19         unclear I'm glad we had this opportunity to clarify
20         it.
21                  Q.   So could you produce all of the sample
22         maps that the number generator created that you did
23         not include in the report?
24                  A.   Um, I don't know.            I don't remember if
25         I set a seed or not.

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 1                  Q.   So those might be gone?
 2                  A.   They might be.           I would have to look at
 3         the report and see if there is ten numbers that
 4         appear in the map titles.
 5                  Q.   Is there a way to reproduce exactly
 6         your process for the report, such that you could
 7         recreate the ten map samples for each cluster?
 8                  A.   I mean, no.       It's -- it's just a random
 9         sample of maps.     You can produce -- you can
10         certainly replicate a random sample of ten maps,
11         and you can certainly replicate the maps that have
12         been produced because they're numbered in the code.
13         And I'm happy to say that the other six were not --
14         or the other, however many, were not duplicates.
15                  Q.   But we can't replicate the exact ten
16         that you got?
17                  A.   I don't know if that is true or not
18         because if there is ten numbers in the maps that
19         are in the report, then you could.                Because I only
20         -- I only generated the vector once.
21                  Q.   But there is no cluster for which you
22         actually produced the map numbers for all ten,
23         correct?
24                  A.   Well, that's -- no.              You're -- I think
25         I'm being unclear.      You know, if one cluster is

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 1         1234, another cluster is 5678, and another cluster
 2         is 910, that actually could go back and reproduce
 3         everything.
 4                  Q.   Okay.     I was under the impression that
 5         you sampled ten maps for each luster?
 6                  A.   Well, right.         But it's -- I only did
 7         the -- I -- I would have to go back and look at the
 8         code.    I'm sure if I'm wrong Dr. Imai will let me
 9         know, but I think I only sampled vector once, and I
10         pulled the same ten maps for all six clusters.
11                  Q.   So if it possible to recreate the
12         sampling that you did, meaning, that the ten map
13         sample for each cluster would be the same as the
14         one that you analyzed for your report, will you
15         produce all ten sampled maps for each cluster now?
16                  A.   No.     But I can give you -- I mean, the
17         numbers will appear in the report, and your experts
18         are more than able to generate those maps with my
19         code.
20                  Q.   But you can't recreate --
21                  A.   Unless counsel -- unless -- oh, I
22         could.    Unless counsel instructs me to spend their
23         money recreating these maps, I won't do it, but it
24         could be done.
25                  Q.   Okay.     Let's go to page nine of your

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 1         report.
 2                   A.   You're not sharing anything with me by
 3         the way.
 4                   Q.   You said you had your report?
 5                   A.   Yeah.     I closed it at the break, sorry.
 6                   Q.   Can you reopen it?
 7                   A.   Okay.
 8                   Q.   Okay.     So at the bottom of page nine,
 9         Paragraph 28, you say, "Take for example the
10         Chester configuration.           I selected ten maps at
11         random from each of Dr. Imai's ensemble of maps."
12                        First of all, let me pause there.                 Do
13         we agree that ensemble means roughly the same thing
14         as assimilation?
15                   A.   Yes.
16                   Q.   Okay.     Great.       So you say, "I selected
17         ten maps at random from of each of Dr. Imai's
18         ensemble of maps.        Four of these appear to be
19         identical."
20                   A.   Correct.
21                   Q.   You didn't say that they are identical,
22         correct?
23                   A.   That's right.
24                   Q.   Are they identical?
25                   A.   I believe so.

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 1                  Q.   Then why didn't you say that they are
 2         identical?
 3                  A.   Because they appear to be identical and
 4         I believe they're identical.
 5                  Q.   But you could have said they are
 6         identical.    Instead, you said they appear to be
 7         identical.    Is it are they identical or do they
 8         merely appear to be identical?
 9                  A.   I don't think it's either or.                   I mean,
10         they appear to be identical, and I don't see how
11         they could not be.        But if someone went through and
12         did a precinct by precinct analysis and found a way
13         that they are not, then I would be wrong.                     I
14         wouldn't be wrong -- I wouldn't be wrong because
15         they still appear to be identical and I can't
16         imagine that they aren't.
17                  Q.   Okay.     But you didn't provide us with
18         the data, precinct by precinct, to show whether
19         they're identical or not?
20                  A.   That's Dr. Imai's maps.
21                  Q.   But it's your report?
22                  A.   It's Dr. Imai's maps, and I'm relying
23         on his code to generate these maps.                All I did was
24         -- all -- all I did was run his codes, so he should
25         have all of this.

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 1                   Q.   I agree.       But you used the word, "these
 2         appear to be identical," and not Dr. Imai, right?
 3                   A.   Well, right.
 4                   Q.   Okay.     So back to the conversation we
 5         were having a minute ago, you said you sampled ten
 6         maps at random, correct?
 7                   A.   Correct.
 8                   Q.   And how many do you include in your
 9         report?
10                   A.   It looks like for Chester there are --
11         it looks like six.
12                   Q.   So how many --
13                   A.   Well, there -- there is eight, but six
14         are taken from the sample.
15                   Q.   Well, I'm sorry.            How many images of
16         maps are there, first of all?
17                   A.   For Chester, I believe there are eight,
18         and six of those are taken from the sample.
19                   Q.   Okay.     So four of the ten from your
20         sample do not appear in your expert report at all;
21         is that right?
22                   A.   Yeah.     They're not identical.
23                   Q.   What do you mean when you say, "they're
24         not identical?"        Not identical to what?
25                   A.   To the map that's produced.

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 1                  Q.   Okay.     And you don't remember what
 2         those four looked like, correct?
 3                  A.   Let me check to see.               I do have the --
 4         yeah, I can -- I can produce for you the ten maps
 5         from each sample.
 6                  Q.   Okay.     Any reason you didn't produce
 7         them before today?
 8                  A.   Well, because these were the maps that
 9         I relied upon.
10                  Q.   Okay.
11                  A.   And there is -- there is and you can
12         see my process in the code.
13                  Q.   Okay.     Was your point in this section
14         to show maps, first of all, that appeared
15         identical?
16                  A.   Yes.
17                  Q.   Okay.     And then on page -- I'm sorry.
18         Hold on one second.        On page 12, you say, "In fact,
19         just in the ten maps that I randomly sampled,
20         Dr. Imai's algorithm produces any map that is
21         almost identical to the map that the legislature
22         produced."
23                       Can I take from that that out of the
24         ten you sampled, one of them looked, as you say,
25         almost identical to the enacted map; is that right?

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 1                   A.   That's right.
 2                   Q.   If there had been others in your random
 3         sampling of maps that looks almost identical to the
 4         enacted map, would you have included it in the
 5         report?
 6                   A.   Surely.
 7                   Q.   So can we assume then out of the ones
 8         that you didn't produce in the report, they didn't
 9         look like the enacted map?
10                   A.   Oh, yes.
11                   Q.   Okay.     And out of the -- out of the
12         images from the sampling that you included, you're
13         not contending that any of those looked like the
14         enacted map either, right?
15                   A.   They don't look at all like it.                 It's a
16         different configuration.            It keeps the City of
17         Chester in Chester County.
18                   Q.   Okay.     So just to confirm, in your
19         ten-map sampling in Chester only one looked similar
20         to the enacted map?
21                   A.   Yes.
22                   Q.   Okay.     I'm moving to Sumter on page 14.
23                        In Sumter, did you also do a ten-map
24         sampling?
25                   A.   Yes.

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 1                  Q.    You didn't include all ten in your
 2         report, correct?
 3                  A.    That's right.
 4                  Q.    In fact, you only included two images,
 5         correct?
 6                  A.    Correct.
 7                  Q.    Okay.     You haven't produced the other
 8         eight to us yet, correct?
 9                  A.    That's right.
10                  Q.    Okay.     And for Sumter, you admit that
11         none of the sampled ten maps look like the enacted
12         map, correct?
13                  A.    His process prefers to split it on an
14         east/west axis.
15                  Q.    I'm sorry.        Where it Dr. Imai's report
16         does he say, I prefer to split Sumter on an
17         east/west axis?
18                  A.    Well, if you take a sample of ten maps,
19         so, to answer your question correctly, he doesn't
20         say that.     But if you -- and I also didn't say that
21         Dr. Imai prefers to have that on an east/west axis.
22         What I said was is -- on the exact code or the fact
23         of the exact wording here, is that whatever the
24         parameters of the simulation are, they prefer this
25         east/west because all ten of the maps split the

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 1         City or split the county on an east/west axis.
 2                  Q.   I'm sorry.      In what document does it
 3         say there is a preference to spit Sumter on an
 4         east/west axis?
 5                  A.   If you pulled a sample of ten maps from
 6         a sample of 5,000 maps, and they're all split on an
 7         east/west axis, some parameter in the simulation is
 8         leading it to prefer, even if it's not explicit, an
 9         east/west split.
10                  Q.   So there is no explicit parameter that
11         prefers an east/west split.            That just happens to
12         be what is produced from the parameters that do
13         exist, correct?
14                  A.   Well, it's probably a result --
15                       MR. DIAMADUROS:          Object to the form.
16                       THE WITNESS:       It's probably a result --
17         the result of the compactness parameter.               Mapmakers
18         weren't prying with the compactness parameter of
19         one or whatever Dr. Imai is using, you would get --
20         probably get different maps.
21         BY MR. TRIVEDI:
22                  Q.   But you don't know that for sure,
23         correct?
24                  A.   No.   Dr. Imai is using his
25         developmental software, and I didn't feel

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 1         comfortable messing around too much with it.
 2                  Q.    Okay.     In terms of preferences,
 3         Dr. Imai did use -- well, okay.
 4                        Do you agree that Dr. Imai attempted to
 5         simulate the parameters that the legislature,
 6         itself, used?
 7                  A.    I don't know.
 8                  Q.    Okay.     Okay.      The next cluster is
 9         Richland.
10                  A.    Uh-huh, yes.
11                  Q.    For Richland, your report says, "We see
12         this again in the Richland County group with just a
13         minor difference rendering these maps distinct; is
14         that right?"
15                  A.    That's right.
16                  Q.    You include two pictures of maps from
17         Richland, correct?
18                  A.    Correct.
19                  Q.    You don't include the other eight from
20         your sampling of ten, correct?
21                  A.    That's correct.
22                  Q.    Okay.     You have no data in this section
23         of Richland explaining how they are similar or
24         different, these two maps, correct?
25                  A.    That's correct.           I mean, you can look

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 1         at them and see that the lines are identical except
 2         with a slight difference in how District 2 and map
 3         1393 and District 4 in map 1494 are configured on
 4         the north.     A little protrusion on District 2 in
 5         1494 versus 1393, and then the -- I guess it's
 6         District 6 and 8 in both maps have some slightly
 7         different configurations.             But I think any
 8         reasonable person looking at these districts would
 9         say they're substantially similar with minor
10         differences.
11                  Q.    But you don't assert here that these
12         two images look anything like the enacted map,
13         correct?
14                  A.    That's right.          My -- my -- my point --
15         my general point here is just that you aren't --
16         you aren't necessarily getting 5,000 radically
17         different maps, which I don't think people
18         necessarily intuit when they start out with
19         redistricting plans or redistricting simulations.
20         That's -- that's really all there is.
21                  Q.    Okay.     So moving to PD.           Here your
22         analysis is, "We see this again in the PD maps."
23         You don't say anything more about PD, correct?
24                  A.    That 's right.
25                  Q.    Then you have two maps out of your

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 1         ten-map sampling, correct?
 2                  A.   That's right.
 3                  Q.   Not the other eight?
 4                  A.   That's correct.
 5                  Q.   And you're not contending that these
 6         two maps look anything like the enacted map?
 7                  A.   That's -- that's certainly correct.
 8                  Q.   Okay.     Now below the PD section, on
 9         page 18, you say, "To be perfectly clear, I do not
10         believe that this calls into question the overall
11         legitimacy of the approach;" is that right?
12                  A.   Yes.
13                  Q.   Okay.     Your whole point was that some
14         maps turn out identical?
15                  A.   Right.      That -- that -- that we aren't
16         getting 5,000 completely, I guess you would call
17         fresh or unique looks at the map.                I think that is
18         an important context to understand.
19                  Q.   Okay.     Then you use an analogy about
20         newborn babies in the United States; is that right?
21                  A.   Right.
22                  Q.   So what's your analogy?
23                  A.   If you sampled the weight of newborn
24         babies in the United States, you would get numbers
25         around 7.5 repeated because that's where the center

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 1         of the distribution is for newborn babies.
 2                  Q.   But, mathematically speaking, whether
 3         the mean is at 7.5 because many, many babies weigh
 4         exactly 7.5, or whether many, many babies weighed
 5         7.49 and 7.51 doesn't really matter, right?                   The
 6         mean is at 7.5 either way, correct?
 7                       MR. DIAMADUROS:           Object to the form.
 8                       THE WITNESS:         Yeah.       Yeah.   My -- my
 9         point is that if you really have a background in
10         math and statistics to think about it, this isn't
11         terribly surprising, and it makes sense when you
12         think about other things that people sample.                   I
13         mean, this -- this -- this part actually is not a
14         critique of Dr. Imai.
15         BY MR. TRIVEDI:
16                  Q.   All right.       Just to close out this
17         section, you're aware that the Plaintiffs also
18         challenged a cluster of districts in Andersen
19         County; is that right?
20                  A.   Correct.
21                  Q.   And this sampling analysis doesn't
22         address Andersen County at all, is that right?
23                  A.   It does not.
24                  Q.   Did you do a ten-map sampling of
25         Andersen County?

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 1                  A.   Yes.
 2                  Q.   You just didn't include it here?
 3                  A.   I didn't have anything to say about it.
 4                  Q.   Okay.     You didn't produce to us those
 5         ten maps either, did you?
 6                  A.   No.     But they should have the same
 7         numbers as the maps included here.                  So at the very
 8         least, we should be able to reproduce most of them
 9         from this.
10                  Q.   Sorry.      What do you mean that they
11         could have the same numbers?              Because you have map
12         numbers in each cluster that are different from
13         other clusters, right?
14                  A.   Right.      So if you go be the page 11,
15         you'll see map number 1633.             If you go onto page 12
16         you'll see map number 1494.             And if you go on page
17         15, you'll see map number 1633.                  And if you go on
18         page 17, you'll see map number 1494.
19                  Q.   I see.      This is helpful.            Okay.
20                       So you used the random-number generator
21         and created the same ten map numbers for all
22         clusters?
23                  A.   That's what I mean what I said -- and
24         -- and I'm sure I will hear about it if I'm wrong
25         with this in the code.          But I said my recollection

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 1         is that I created -- I had created the vector of
 2         random numbers once.
 3                  Q.   Great.      Okay.      That is helpful.         Thank
 4         you.
 5                  A.   You're welcome.
 6                  Q.   Okay.     To go back to your report, in
 7         Paragraph 37 you say, "It does."                 It meaning the
 8         appearance of duplicates, would you agree?
 9                  A.   Be almost certain exists as duplicates,
10         right.
11                  Q.   Right.      So it does not -- it does
12         however give some important context to the peaks in
13         the histogram.     You say, "Those peaks don't occur
14         because out of all of the possible combinations of
15         precincts in districts, almost all the racial
16         breakdowns would be near the peak."
17                       Did I read that right?
18                  A.   Yeah.     There is an embarrassing typo in
19         there, but yeah.
20                  Q.   I didn't read the typo.
21                  A.   Sorry about that.
22                  Q.   Does Dr. Imai claim that almost all
23         racial breakdowns occur near the peak?
24                  A.   Oh, no.      This isn't -- this is why I
25         put that sentence up front.             That -- I'm not

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 1         critiquing his mathematics, and why I put in the
 2         paragraph saying, you know, I'm not critiquing the
 3         overall legitimacy of the approach.                 What I want
 4         the people evaluating these maps to understand is
 5         -- is that because his software weights or his
 6         package, when it's trying to decide mass select
 7         weights them with certain parameters, it's going
 8         to -- it's going to -- some maps are going to be a
 9         lot more likely to be selected than others.                    And
10         so, you know, there -- there -- there -- it's just
11         not like -- when -- when you say randomness to most
12         people, they think like a dice or the lottery.                       You
13         know, where it's to use mathematical geek terms as
14         a uniform distribution.
15                  Q.    Uh-huh.
16                  A.    And I don't -- that -- that's not how
17         that works because it gives preference for certain
18         maps to be drawn, which is why you see these
19         repetitions.     It is a different shape.               That is all
20         I'm saying.
21                  Q.    But you agree that that State
22         Legislature also had parameters that they did not
23         made uniform distribution, correct.
24                  A.    Correct.
25                  Q.    Okay.     And I just want to focus on -- I

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 1         take your point that you just made.                I just want to
 2         focus on your use of the term "Almost all the
 3         racial breakdowns would be near the peak."                    And get
 4         your agreement that Dr. Imai's histograms don't
 5         claim that almost all racial breakdowns occur near
 6         the peaks.    His why access tells you exactly what
 7         proportion of the racial breakdowns occur at the
 8         peak; is that right?
 9                  A.   I mean, I think for like Chester
10         County, if I'm looking at this histogram of page
11         eight correctly, it does suggest that out of his
12         sample, you know, 60 percent of the maps or 70
13         percent of the maps are at the peak.                And that
14         doesn't mean 70 percent of all unique, randomly
15         drawn possible maps.         It's -- it's the maps that
16         are drawn according to the parameters of the
17         software that can produce lots of duplicates in
18         very very similar maps.
19                  Q.   Right.      And so I'm glad you pointed me
20         back to the histograms on page eight.                That is
21         exactly my point that 60 -- 70 percent, for
22         example, of plans in district 41 have a BVAP around
23         40 percent, do you agree?
24                  A.   70, I would say, but yeah.
25                  Q.   Okay.     That doesn't say almost all,

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 1         correct?
 2                  A.   It kind of considers 70 percent almost
 3         all, but...
 4                  Q.   You would?
 5                  A.   Yeah.     And you got another 20 percent
 6         in the immediately adjacent histogram.                 So that's
 7         90 percent, very near the peak so...
 8                  Q.   Okay.     And, therefore, you would agree
 9         that the enacted plan that is above 50 percent is
10         not near almost all the outputs, correct?
11                  A.   Yeah.
12                  Q.   Okay.     So I have one more question
13         about --
14                  A.   We -- we -- we can quibble about
15         whether it's near or not.            I -- I -- whether it's
16         much higher, but it's different.
17                  Q.   Okay.
18                  A.   And one other thing on almost all.                  If
19         you look at District 43, that -- that, to my eye at
20         least, appears to be 85 percent of the districts at
21         this, you know, just below 30 percent BVAP, which
22         to me is almost all.
23                  Q.   Okay.     I have one question about
24         clusters with a small number of districts, but
25         let's stick with Chester.            Chester has two

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 1         districts, correct?
 2                  A.   Right.
 3                  Q.   The cluster that the -- the Plaintiffs
 4         -- the cluster that the Plaintiffs call Chester has
 5         two districts, correct?
 6                  A.   Correct.
 7                  Q.   Wouldn't you then expect, with only one
 8         line dividing two districts, that there would be a
 9         lot of maps that are similar or substantially
10         similar?
11                  A.   I think this is -- first off, I would
12         expect it because I have been dealing with these
13         simulations for a while.         I don't know that an
14         average observer would.
15                  Q.   I'm just asking about you.
16                  A.   Well, I know.        And -- and I have a
17         different perspective on this than most.               It -- it
18         didn't surprise me that a lot of these maps look
19         the same for the simulation.            I don't know if
20         people were just randomly drawing maps without a
21         compactness parameter of one, whatever that means
22         programmed into their heads, that you would get a
23         bunch of maps that look almost identical, because
24         there is a lot of different combinations you can
25         draw here.

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 1                  Q.    But you do know that the legislature
 2         had certain parameters, correct?
 3                  A.    I don't know that they had compactness
 4         parameter of one in mind or a compactness parameter
 5         of anything.     Or that they would have had the
 6         Polsby–Popper definition of compactness in mind.
 7         But they probably had some big parameters in mind,
 8         yes.
 9                  Q.    Okay.     Okay.      On page 19 of -- of your
10         report, you have it that districts often persist
11         out of habit as much as anything else; is that
12         right?
13                  A.    Yes.
14                  Q.    You don't cite any scholarship for this
15         assertion; is that right?
16                  A.    No.     It's my experience drawing maps,
17         for example.     And having studied district lines for
18         a long time, you rarely see a legislature
19         completely -- excused me, wiped the slate clean and
20         draw again.
21                  Q.    Have you written a peer-reviewed paper
22         about that?
23                  A.    No.     But if someone wants to suggest to
24         suggest to rebuttal those pictures routinely wipe
25         the slate clean in redistricting, I -- I would like

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 1         to see it.     But I don't think you'll fine any one
 2         to say that.
 3                  Q.    But you haven't found anyone to say
 4         that district often persists out of habit as much
 5         as anything else either, have you?
 6                  A.    Well, in my experience drawing maps,
 7         actual maps, yes.        In my experience studying
 8         congressional districts for a dozen years now,
 9         professionally, yeah.          I mean -- we have had -- had
10         9th District Virginia located in the panhandle for
11         probably 100 how.        And when we were drawing in
12         Virginia, even though we were trying to draw from a
13         blank slate, we always referred to the 9th District
14         in Southwest Virginia because we both knew that.
15                  Q.    Okay.     But, again, you're basing this
16         on your personal experience?
17                  A.    I mean, yeah.          My personal experience
18         and training.
19                  Q.    Okay.     You don't cite any peer-reviewed
20         studies or mathematical models supporting the
21         assertion that district often persists on habit as
22         much as anything else?
23                  A.    No.     It's my professional experience
24         and training assessment.
25                  Q.    When you say, "As much as anything

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 1         else," do you think habit is equally as relevant a
 2         factor as other things?
 3                  A.    What paragraph are we on?
 4                  Q.    Page 19.       Paragraph 38.
 5                  A.    Oh, no.      That's not a specific
 6         probability.
 7                  Q.    Okay.     So later in that paragraph, you
 8         say that, for example, "The pairing of the City of
 9         Chester with Fairfield County could be the result
10         of habit or path dependency;" is that right?
11                  A.    Yeah, core retention.
12                  Q.    You don't say, "core retention" though,
13         you say, "habit or path dependency," correct?
14                  A.    Yeah, but it's the same concept.
15                  Q.    Then you write, "The map drawers could
16         reasonably have had this configuration in mind out
17         of habit, rather than out of any nefarious purpose,
18         correct?
19                  A.    Right.
20                  Q.    But you can't prove that, correct?
21                  A.    No.     I don't purport to.
22                  Q.    Okay.     You don't include any evidence
23         that that is actually the case, right?
24                  A.    No.     I don't purport to do that either,
25         no.

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 1                   Q.      And you didn't talk to any of the map
 2         drawers as to whether they had a various purpose or
 3         not, did you?
 4                   A.      No.     And I'm assuming if you had good
 5         evidence, as they did, that's -- that's going to be
 6         a different look.
 7                   Q.      And on this habit-based explanation, we
 8         talked about your New York report a moment ago, and
 9         we'll get to it again.              But it's not contained
10         anywhere in your New York report, is it?
11                   A.      No.
12                   Q.      Or your Maryland report?
13                   A.      No.     Well, no because this Maryland is
14         ridiculous, but no.
15                   Q.      Okay.     Let me take a quick pause.
16                           THE VIDEOGRAPHER:             I'll take us off the
17         record.        Sorry.     The time on the monitor is 12:05
18         p.m.     Going off the record.
19                           (A brief recess was taken.)
20                           THE VIDEOGRAPHER:             The time on the
21         monitor is 12:09 p.m.             We're back on the record.
22         BY MR. TRIVEDI:
23                   Q.      Hey.     Welcome back, Mr. Trende.              I have
24         to ask, did you speak to counsel during this break?
25                   A.      No.

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 1                  Q.   Okay.     I'm moving to Page 21 of your
 2         report, which discusses the gerrymandering index.
 3         Can you tell us what that is?
 4                  A.   That is something that was provided --
 5         proposed by Bangia and suggested by McCartan and
 6         Imai in their article on sequential Monte Carlo.
 7         It's a way of trying to summarize how extreme a map
 8         is relative to the distribution produced by the
 9         ensemble.
10                  Q.   And again, by ensemble, we mean
11         simulations, equivalently?
12                  A.   And let's just stipulate for time that
13         ensembles are just the results of simulations.
14                  Q.   Great.      And under the gerrymandering
15         index approach, is it fair to say that the farther
16         the map in question is from the mean, the more
17         gerrymandered it is?
18                  A.   The -- the stronger the evidence that
19         it wasn't being drawn with the same parameters as
20         the existing map, yeah.           The more likely it is that
21         some other consideration predominated.
22                  Q.   So in a racial gerrymander, the farther
23         the map in question is from the beam, the more race
24         considerations predominate?
25                  A.   If all the other -- if every other

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 1         consideration besides race is accounted for in the
 2         map, then yes, or in the ensemble, then yes.                   If
 3         every other consideration is not accounted for, you
 4         know, if people were drawing with Re-occ (ph) in
 5         mind instead of Polsby–Popper about the compactness
 6         parameter of one, then it could be that one of
 7         those considerations is responsible for the
 8         deviation.    But your inference becomes stronger on
 9         whatever other theory you posit.
10                  Q.   The farther the target map is from the
11         beam?
12                  A.   Right.
13                  Q.   And speaking of the difference between
14         the mean and the target map, there are different
15         ways to measure that difference, right?
16                  A.   Sure.
17                  Q.   One of them is standard deviations?
18                  A.   Yes.
19                  Q.   Another way is to simply look at the Y
20         axis and see if the target map has a higher
21         gerrymandering index figure than the mean, correct?
22                  A.   The X axis, yeah.
23                  Q.   I'm sorry.        Yes.      The X axis, where the
24         gerrymandering indention is, correct.
25                       I'll rephrase that.                You can look at

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 1         the X axis of your graphs, and see if a target map
 2         has a higher gerrymandering index on the X axis,
 3         than where the mean looks to be; is that right?
 4                  A.   Correct.
 5                  Q.   But that's not as precise, because you
 6         can tell the exact number of the gerrymandering
 7         index either for the mean or for the target map,
 8         correct?
 9                  A.   Oh, yeah.       I mean, it -- yes.
10                  Q.   Okay.     So, for example, speaking again
11         of the X axis, if the mean on the graph is about 50
12         percent, and a single map in question is at 10
13         percent, can we say that the map in question is
14         five types less gerrymander, give or take?
15                  A.   Well, again, we're -- we're -- if we
16         will stipulate that this is all assuming that every
17         consideration except for politics is accounted for,
18         then -- then that's a useful way to refer to it,
19         yes.
20                  Q.   But you just said the word politics I
21         think by accident.        Do you mean race?
22                  A.   Force of habit.           Yes, race, in this
23         context.
24                  Q.   Okay.     In your report, though, you
25         didn't actually give us the gerrymandering index

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 1         numbers for each of these analyses that you ran; is
 2         that right?
 3                  A.   Right.
 4                  Q.   You just gave us graphs, correct?
 5                  A.   With relative positioning, yeah.
 6                  Q.   And you didn't report the mean for each
 7         graph, correct?
 8                  A.   That's right.
 9                  Q.   And you didn't report the number of
10         standard deviations from the mean of any of the
11         maps that you analyzed; is that right?
12                  A.   That's right.
13                  Q.   Did you produce those actual numbers to
14         Plaintiffs?
15                  A.   I think I -- I think I gave you the
16         code to produce gerrymandering indices, but I don't
17         believe that I have calculated those numbers.                 It's
18         a relative -- it's a relative analysis so...
19                  Q.   Sorry.    What do you mean, "It's a
20         relative analysis?"
21                  A.   Well, so, this analysis is looking kind
22         of three different maps to compare to each other,
23         and to the body of the distribution of -- if the
24         gerrymandering indices.         So it's how these plans
25         perform relative to each other as much as anything

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 1         else.
 2                        (Simultaneous speaking)
 3                   A.   If something -- and if something is
 4         completely outside the distribution of the
 5         gerrymandering index, I mean, then, you know, it's
 6         -- not going to say it's irrelevant, but I -- I
 7         think the point is made either way.
 8                   Q.   Okay.     But just on what the graphs tell
 9         us and what they don't, there is a mean for each of
10         the graphs that you have put into your report,
11         correct, a numeric figure, correct?
12                   A.   How it exists, yeah.
13                   Q.   Right.      But we don't have it in the
14         report?
15                   A.   I mean, no.
16                   Q.   Okay.     And you didn't produce it as a
17         numeric figure to us, correct?
18                   A.   No.     If it's something that Plaintiff's
19         experts think is relevant, they should be able to
20         reproduce it from my code and do whatever
21         calculations they're interested in.
22                   Q.   Okay.
23                   A.   But I -- from my analysis, I didn't
24         think it was relevant.
25                   Q.   Okay.     Did you think producing the

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 1         standard deviations from the mean for any map that
 2         you analyzed was relevant?
 3                  A.   I don't think so.
 4                  Q.   Okay.     The gerrymandering index was
 5         designed to be used in the partisan gerrymandering
 6         context, correct?
 7                  A.   Correct.
 8                  Q.   You're using it here on a racial
 9         gerrymandering case; is that right?
10                  A.   That's right.
11                  Q.   So would you say that changing the
12         variable that you're controlling for doesn't change
13         the validity of the approach?
14                  A.   Well, that's a -- that's -- that's a
15         little bit of a broad generalization.                I don't
16         think I can -- I can't admit to that that broadly.
17                  Q.   Does controlling for race and not
18         partisanship render the gerrymandering index
19         useless?
20                  A.   I don't think so.
21                  Q.   Okay.     You didn't include any caveats
22         in your report saying that the gerrymandering index
23         is less valid for racial gerrymandering than for
24         partisan gerrymandering; is that right?
25                  A.   I don't -- I don't think it would be,

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 1         but I could be persuaded on that.
 2                  Q.     Okay.     Okay.      So I want to dive into
 3         the -- the graphs themselves, but I have a
 4         clarification.        So on page 24 of your report, you
 5         produce a graph showing that gerrymandering index
 6         -- or starting on page 24 you show graphs for
 7         several clusters.         But there is a chart on the top
 8         of page 24, and a chart on page 25 labeled as the
 9         "Distribution of Gerrymandering Index for Andersen
10         Cluster."
11                         Do you see that?
12                  A.     Yeah.     That's probably a typo or I
13         didn't update the title.             Yeah.
14                  Q.     No problem.         Can you tell by eyeballing
15         it, which if either, are Andersen?
16                  A.     No.
17                  Q.     Okay.     So I'll skip that one for now,
18         putting on the record that we may have to hold open
19         the deposition, including for other reasons
20         previously stated on the record, but also because
21         we can't tell what these two graphs are, correct?
22                  A.     You -- you can note what you would like
23         for the record.
24                  Q.     Oh, okay.       But I'm asking you to
25         confirm.      You can't confirm just by eyeballing it

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 1         whether either of these two are Anderson, or
 2         whether if one of them is Andersen what the other
 3         one is?
 4                   A.    Oh, I'm certain one of them is
 5         Andersen.      I can't confirm which one.
 6                   Q.    Okay.     Okay.      So let's go to page 24
 7         where you talk about Chester.
 8                         Do you see that?
 9                   A.    Yes.
10                   Q.    Okay.     In Chester, the enacted map is
11         outside the distribution; is that right?
12                   A.    So I'm color blind.
13                   Q.    Okay.
14                   A.    But I'm going to assume, looking at
15         this, that this is the middle one that's red, so,
16         yes.
17                   Q.    You note that there is a heavy cluster
18         of maps, quote unquote, "Heavy cluster of maps
19         around one percent on the gerrymandering index;" is
20         that right?
21                   A.    That is right.
22                   Q.    And it looks like, based on the Y axis,
23         that over 3,500 of the 5,000 simulated maps are
24         around one percent gerrymandering index; is that
25         right?

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 1                  A.   That's right.
 2                  Q.   Is it fair to say that the mean is
 3         likely around one percent as well?
 4                  A.   Yes.
 5                  Q.   Okay.     And I know it's tough to see,
 6         but would you agree that the enacted map in red,
 7         the middle of the three, is around nine percent?
 8                  A.   Yes.
 9                  Q.   Okay.     You also say that there are,
10         quote unquote, "Clusters of maps that produce
11         similar gerrymandering indices to the enacted
12         plan," right?
13                  A.   That's right.
14                  Q.   I assume you're talking about these
15         small bars around 7.5 percent and eight percent?
16                  A.   Yes.
17                  Q.   Can you say roughly how many maps that
18         constitutes out of the 5,000?
19                  A.   3,500 here, we have got 4,000.                 A
20         couple hundred maybe.
21                  Q.   Okay.
22                  A.   Maybe.
23                  Q.   But when you say that there are
24         clusters of maps that are similar to the enacted
25         plan, you mean a couple hundred out of 5,000?

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 1                  A.   Which isn't surprising since we know
 2         that simulations produce maps that look a lot like
 3         the enacted plan in Chester County.
 4                  Q.   I'm sorry?        The -- you said the
 5         simulation produces a lot of plans that look like
 6         the enacted plan in Chester?
 7                  A.   Yeah.     We -- we just -- we just went
 8         through that.
 9                  Q.   I'm -- I'm not sure we did.               So I
10         thought we just established that thirty -- over
11         3,500 of the maps have a gerrymandering index
12         around one percent, but the enacted map has an
13         index of nine percent?
14                  A.   Yeah.     But, if --
15                  Q.   -- you can contend that though -- that
16         can still mean that the enacted map looks like the
17         mean?
18                  A.   I didn't say it looks like the mean.
19                  Q.   Okay.
20                  A.   We were talking about this cluster --
21         this cluster of maps out on the right, that's
22         similar to the enacted plan.              And I'm just saying
23         it's not surprising that we have these bars outside
24         the enacted plan because when you look at the maps
25         in the sample, there are maps generated that look

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 1         like the enacted plan, so of course they're going
 2         to generate similar gerrymandering indices.
 3                  Q.   Right.      But as a -- as a matter of
 4         numbers, there are only, what you said, a couple
 5         hundred that actually look like the -- anything
 6         like the enacted map while there are many more that
 7         don't look like it, correct?
 8                  A.   I'm guesstimating it's about a couple
 9         of hundred, but one out of 20, to me, is a lot of
10         maps when you are talking about 5,000 maps.
11                       (Simultaneous speaking)
12                  A.   But I will -- but I will agree with
13         you, and I am not even trying to remotely suggest
14         that the mean, or the mode, or those factors are
15         out of the enacted plan.
16                  Q.   Okay.     And you said a moment ago that
17         the enacted plan is outside the distribution here?
18                  A.   Yes.
19                  Q.   Okay.     Again, you didn't calculate the
20         standard deviation between the enacted map and the
21         mean here, did you?
22                  A.   That's right.
23                  Q.   So, would it surprise you to know that
24         it is 4.14 standard deviations from the mean?
25                  A.   That's actually smaller than I would

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 1         have thought, but, yeah, okay.
 2                  Q.   Okay.      So on page 25, we, again, have
 3         the thing that's called Andersen, so I'm going to
 4         skip that one.      But on the bottom of page 25 you
 5         say -- you say in your report, sorry, "In
 6         Orangeburg it is a similar story."
 7                       Do you see that?
 8                  A.   Yeah, and I can see what happens now.
 9         Yeah, that is the -- well, yeah.                That's -- that's
10         the Orangeburg map produced twice.
11                  Q.   Okay.      You're saying that the map
12         labeled "Andersen" on page 25 is actually a
13         reproduction of Orangeburg map at the top of page
14         26?
15                  A.   Yeah.      I think -- I think that
16         paragraph 52 was probably just meant to come out
17         and never did in an edit.
18                  Q.   Okay.      Okay.      So then let's talk about
19         Orangeburg.      You say, "In Orangeburg it is a
20         similar story."       There is no other text there,
21         correct?
22                  A.   Right.
23                  Q.   So when you say, "It is a similar
24         story," you're saying that the enacted map is
25         outside of the distribution?

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 1                   A.      No.     The point here was that the -- the
 2         -- I guess here is the enacted plan, the NAACP
 3         plan, or both outside the -- the bulk of the
 4         distribution.
 5                   Q.      But the enacted plan is outside of the
 6         bulk of the distribution, correct?
 7                   A.      (Inaudible).
 8                   Q.      Sorry.      Sorry.         I didn't hear an answer
 9         to that?
10                   A.      I said right.
11                   Q.      Oh, sorry.        There -- there are times
12         when you're -- you're cutting out just for a
13         second.        Okay.    I appreciate that.
14                           (Simultaneous speaking)
15                           THE WITNESS:         Madam Court Reporter, am
16         I cutting out for you, too?
17                           THE COURT REPORTER:                Sir, that time you
18         did, yes.
19                           THE WITNESS:         Okay.         I'll try to hold
20         the microphone closer to my mouth.
21                   Q.      I honestly think it's a -- it's a --
22         nothing we can do.            It happens sometimes.                I can
23         here 99 percent of what you're saying.
24                   A.      Okay.
25                   Q.      You're within the mean.

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 1                       Okay.      So in Orangeburg, we calculated
 2         the standard deviation, and got 3.84 standard
 3         deviation between the mean and the enacted plan.
 4         Any reason to think that's wrong?
 5                  A.   No.
 6                  Q.   Okay.      On page 27, we have the PD
 7         cluster; is that right?
 8                  A.   That's right.
 9                  Q.   Okay.      And in your report you say the
10         enacted plan is not within the expected
11         distribution in PD here, correct?
12                  A.   That's right.
13                  Q.   Okay.      We calculated the standard
14         deviation here, and we got 4.53 standard
15         deviations.      Does that surprise you?
16                  A.   I -- I mean, I thought it was a little
17         larger, but that seems right.
18                  Q.   Okay.      So next on page 28, is the
19         Richland cluster.
20                       Do you see that?
21                  A.   Yeah.
22                  Q.   Okay.      For Richland you say that the
23         enacted map falls on a "Cluster of maps," quote
24         unquote, is that right?
25                  A.   Yes.

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 1                  Q.     It doesn't fall on the largest cluster,
 2         correct?
 3                  A.     Oh, no.      No, I think that's obvious.
 4                  Q.     It's not at the mean either?
 5                  A.     No.     I think -- again, that's obvious
 6         as well.
 7                  Q.     Okay.     So in Sumter now on the -- at
 8         that same page, the enacted plan is entirely
 9         outside the distribution, correct?
10                  A.     That's the enacted plan, which looks
11         like -- yes.
12                  Q.     We also calculated the standard
13         deviation here and got 5.72 standard deviations.
14                         Does the seem right to you?
15                  A.     I don't have any reason to disagree
16         with it.      That one was larger than I would have
17         expected, but, I mean, I am just eyeballing the
18         data.
19                  Q.     Okay.     For this map would you say it's
20         impossible to draw something near the mean?
21                  A.     No.
22                  Q.     Why is that?
23                  A.     Well, I wouldn't say that for any of
24         them because obviously it's possible because you
25         have simulated maps that appear near the mean, and

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 1         this one it looks like -- in this cluster, at
 2         least, it looks like Dr. Duchin's map is near the
 3         means as well.
 4                  Q.     Okay.     Great.       So now I'm going to turn
 5         to your New York report.             Give me one second to
 6         pull it up.      Sorry.      I'm having a tech issue this
 7         time.
 8                  A.     I didn't do it.
 9                  Q.     Okay.     Do you see that now?
10                  A.     Yes.
11                  Q.     Okay.     Is this your expert report in
12         New York that we pulled up earlier?
13                  A.     Yes.
14                  Q.     Okay.     So I want to go down to page 14.
15         Okay.    Do you see where you say, "The ensemble maps
16         have on average a gerrymandering index of around
17         7.5 percent.      The enacted two congressional map on
18         the other hand has a gerrymandering index of 17
19         percent.      Almost six standard deviations from the
20         mean."
21                         Did I read that right?
22                  A.     You did.
23                  Q.     Then the next thing you say is, "The
24         probability that the enacted congressional map will
25         be drawn by map drawers who care only about the

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 1         constitutional mandate for compactness and avoiding
 2         undue partisan influence is vanishingly small."
 3         Did I read that correctly?
 4                  A.   That's right.
 5                  Q.   The next sentence says, "Put simply, it
 6         is implausible, if not impossible, that this map
 7         was drawn without a heavy reliant upon political
 8         data, and was likely drawn to favor or disfavor a
 9         political party;" is that right?
10                  A.   That's right.
11                  Q.   So is it fair to summarize it to say,
12         multiple standard deviations from the mean in the
13         gerrymandering index in New York, indicate that
14         partisanship was almost certainly the reason for
15         the drawing of the map, correct?
16                  A.   Well, right.       Because we had control
17         for compactness, and avoiding undue partisan.
18         Well, I guess we had control for compactness at
19         that point.
20                  Q.   Right.    And in South Carolina, we're
21         also controlling for compactness, correct?
22                  A.   Well, I demonstrated -- maybe Dr. Imai
23         did this, too, and I have forgotten.              But I had
24         demonstrated that the compactness of the maps lined
25         up with what the legislature had actually drawn.

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 1         So I was actually pretty confident that the
 2         legislative team, even if they didn't know it, were
 3         drawing with this compactness method in mind.                   Now,
 4         of course, the Defendants came back and said, well
 5         you didn't call for this, this, and this.                   And I
 6         did have a control for those things to support the
 7         distribution -- or support the conclusion.
 8                  Q.   And that's in New York you're talking
 9         about, correct?
10                  A.   That's right.
11                  Q.   Yeah, okay.       So in -- in New York it
12         seemed evident that they were controlling for
13         compactness; is that right?
14                  A.   They were controlling for compactness
15         at the same level that the simulations were.
16         Because when you ran the compactness analysis on
17         the enacted plan it fell in the center of
18         distribution of the -- of -- of the ensemble.
19                  Q.   Right.    And the variable that they were
20         controlling for though -- I'm sorry.              Let me start
21         over.
22                       The variable that you were controlling
23         for was partisanship, correct?
24                  A.   Well, I was control -- I was examining
25         partisanship, and I was controlling for

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 1         compactness.     I think that was the only parameter
 2         that I had to build into the sim -- and -- and
 3         continuity of course.         I think that was the only
 4         parameter I had built into the simulations at that
 5         point.
 6                  Q.    And that's helpful.             So you were
 7         examining partisanship there using the
 8         gerrymandering index, correct?
 9                  A.    That's right.
10                  Q.    Okay.    And your conclusion was that at
11         that number of standard deviations away from the
12         mean, it was implausible, if not impossible, that
13         the map was drawn without heavy reliance on
14         partisanship?
15                  A.    That's right.           And then like I said,
16         they came back and said there were all these other
17         things that they considered.              So you had to build
18         those into the simulations, which is in the
19         rebuttal report.
20                  Q.    So we just talked a moment ago about
21         how the gerrymandering index can also be used for
22         racial gerrymandering.         In fact, that's what you
23         used it for, correct?
24                  A.    That's right.
25                  Q.    So isn't it correct then that if an

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 1         enacted map is several standard deviations from the
 2         mean, in a rational gerrymandering index, that that
 3         also means that it is implausible, if not
 4         impossible, that the map was drawn without racial
 5         consideration?
 6                  A.    Controlling -- or if Dr. Imai is
 7         controlling for everything else.                  I mean, it is
 8         tricky in the South separating race from
 9         partisanship.     There may be a political
10         gerrymander.     There maybe other things.               I have no
11         idea what is going on in discovery, and what people
12         have said, you know, what other factors that may or
13         may not have raised.          But, yeah, if everything is
14         property controlled for, besides race, then you
15         know that race played a factor in drawing the
16         districts.
17                  Q.    In fact, it's close to impossible that
18         it didn't, correct?
19                  A.    Yeah.
20                  Q.    And the standard deviation numbers that
21         I just read off track with that opinion, that it's
22         almost impossible, the races didn't play a factor?
23                  A.    If everything else is properly
24         controlled for in the ensemble, then, yeah.
25                  Q.    Do you have any reason to believe that

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 1         things weren't properly controlled for in the
 2         ensemble?
 3                  A.   Like I said, I have no idea.               I
 4         genuinely have no idea what is come out in
 5         depositions and discovery.             I don't have an opinion
 6         one way or the other there.
 7                  Q.   Well, I just mean looking at Dr. Imai's
 8         methodology and data, do you have any reason to
 9         think that he didn't properly control for
10         everything but race?
11                  A.   I think I answered that.              I don't know
12         what other things have been raised.                People are
13         saying no, they're trying to hurt democrats there.
14                       I -- I honestly don't know.               So I can't
15         express an opinion one way or the other.                 That is
16         the lawyer's job, not mine.
17                  Q.   Okay.
18                  A.   I will say, I -- I -- when I was
19         practicing, the advice I gave experts was it's not
20         your job to win the case for us, just answers the
21         questions, and that is something that I have tried
22         to take very seriously in my expert work.
23                  Q.   Okay.     There is an opinion now in the
24         New York case; is that right?
25                  A.   That's right.

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 1                  Q.   Do you know generally what it says?
 2                  A.   I know it struck down the maps.                 It
 3         came down right before I left for vacation, so I
 4         haven't had a chance to read it.
 5                  Q.   Okay.
 6                  A.   Honestly.
 7                  Q.   So before we get to the opinion, in New
 8         York there were also factors that you didn't
 9         control for, right?
10                  A.   I think we controlled for them as well
11         as the legislature did.           So I'm not sure that's
12         true.
13                  Q.   Well, are there factors that the
14         legislature considered that you didn't?
15                  A.   They made the claim, but I don't
16         particularly buy it.
17                  Q.   Oh.     They say they controlled for
18         communities of interest, for example?
19                  A.   Exactly.       And I look at those maps and
20         I don't really believe that they did.                I -- I -- I
21         have done a lot of work on Congressional districts,
22         and did the Almanac American Politics for New York,
23         and I'm not aware of a community of interest that
24         would require you to merge the Hamptons with the
25         districts in -- you know, that's all the way out to

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 1         Nassau County, bypassing all the republican
 2         precincts along the way.           So I'm pretty sceptical
 3         with the claim, or -- or that would connect Yonkers
 4         with Yorktown.
 5                  Q.   But you just -- are you saying they're
 6         lying about what they controlled for?
 7                  A.   I don't think they really controlled
 8         for communities of interest, no.
 9                  Q.   Okay.     Are there any other factors that
10         they controlled for, that they say that they
11         controlled for in New York, that you think that
12         they're lying about?
13                  A.   I think we controlled for -- no.                 I
14         think we controlled for everything else.                 And I
15         shouldn't say they're laying about it.                 But I think
16         they were -- a better way to put it is I think they
17         were opportunistic when they controlled for
18         communities of interest.
19                  Q.   But you definitely didn't control for
20         communities of interest?
21                  A.   I wasn't interested in drawing maps
22         that were opportunistic for drawing communities of
23         interest, no.
24                  Q.   So that's a no?
25                  A.   Like I said, no.            I -- I -- I just -- I

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 1         don't think it would have gone over well if I had
 2         drawn maps that were programmed to select those
 3         city's interests in an opportunistic way.
 4                  Q.   Okay.     I'm going to show you -- well,
 5         let me ask you the question.              You just said, with
 6         respect to virtually all the clusters we discussed,
 7         that the enacted map was outside the distribution;
 8         is that right?
 9                  A.   That's right.
10                  Q.   Okay.     So I know you said that you
11         haven't had a chance to read the New York opinion,
12         but, here it is.
13                       Do you have any reason to believe this
14         isn't it?
15                  A.   No.
16                  Q.   Okay.     I can't highlight this because
17         it's not text readable.           But do you see in the
18         middle of the page where it says, "One does not
19         reach the worst of 5,000 maps by chance?"
20                       Do you see that?
21                  A.   That's right.
22                  Q.   Do you agree with that?
23                  A.   Yeah.
24                  Q.   Okay.     And the Court goes on to say,
25         "Therefore, the Court agrees with petitions that

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 1         the congressional map was unconstitutionally drawn
 2         with political bias;" is that right?
 3                  A.   That's right.
 4                  Q.   And in our case, we just established
 5         that if something is, quote unquote, "The worst of
 6         5,000 maps here," it was almost certainly drawn
 7         with racial bias?
 8                  A.   If everything else was properly
 9         controlled for, yeah.
10                  Q.   Okay.     Can we take another short break?
11         Really short this time?           Thank you.
12                  A.   How short is short?                I will be back.
13                  Q.   Ten minutes.
14                  A.   Got it.
15                       THE VIDEOGRAPHER:             The time on the
16         monitor is 12:41 p.m.         We're going off the record.
17                       (A brief recess was taken.)
18                       THE VIDEOGRAPHER:             The time on the
19         monitor is 12:58 p.m.         We're back on the record.
20         BY MR. TRIVEDI:
21                  Q.   Welcome back, Mr. Trende.
22                  A.   Hello.
23                  Q.   Did you speak with your counsel during
24         that break?
25                  A.   I e-mailed another report to them, but

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 1         they did not respond, and I did not have any
 2         substantive conversation, no.
 3                       (EXHIBIT 13, Ragusa Report, was marked
 4         for identification.)
 5                       (EXHIBIT 14, NAACP House Submission,
 6         was marked for identification.)
 7         BY MR. TRIVEDI:
 8                  Q.   Thank you.        So I want to move now to
 9         the section of your report that discusses
10         Dr. Ragusa's report, that starts on page 29.
11                       So first a clarification, which
12         sections or analyses of Dr. Ragusa's report did you
13         analyze for your report?
14                  A.   Um, I don't know.             I don't have his
15         report in front of me.
16                  Q.   Okay.     I can pull that up for you.
17                  A.   If you want a general response, it
18         looks like it is a response to his approach where
19         he is doing the logistic regression analysis of
20         precincts that could have gone in and out of a -- a
21         district.
22                  Q.   Okay.     So I think that is only Model 1
23         or Analysis 1, but let me pull it up for you to
24         make sure that you agree.
25                  A.   I'll tell you what.                To make our lives

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 1         easier, I will pull up his report, too, so I can
 2         scroll through it.
 3                  Q.    That would be great.               I appreciate
 4         that.    So do you have it open in front of you?
 5                  A.    Yes.
 6                  Q.    Okay.     That's great.            So a minute ago
 7         you described what the analysis that -- that you
 8         thought you were rebutting.              Scrolling through
 9         maybe on pages four through eight, is that part of
10         his report that you were rebutting?
11                  A.    All right.        So let's look at the
12         summary on page four.          That might be the best way
13         to do it.     So Model 1 analyses which need to be
14         surrounding the district were moved into to redrawn
15         district.     So I think -- yeah.             The county in the
16         idea is the one I was mostly responding to.                    I
17         don't remember if it has any implications for the
18         other two.     Oh, so, yeah.          He does it the -- the
19         opposite way.     All right.          And then tried to put
20         them together.        Well, when he is trying to put them
21         together, there was flaws with Model 1.                  At least
22         presumably through Model 3.
23                  Q.    Okay.     But Models 1, 2, and 3 are all
24         under a Section No. 1.           And you're saying that you
25         only analyzed Section No. 1?

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 1                  A.   Oh.     I see what you're saying.                I see
 2         what you're saying.        Yeah.        Yeah.
 3                  Q.   Okay.     I want to be fair to you, so
 4         there is a Section 2 that starts on page nine.                        It
 5         doesn't sound like you analyzed that at all?
 6                  A.   No.     I -- I definitely want to go
 7         through the other two to make sure.                So this is two
 8         months ago.      So he looks out -- no.            I didn't
 9         analyze how the racial composition of districts
10         shifted.
11                  Q.   Okay.     And then if we scroll down --
12                  A.   I didn't do anything with incumbent
13         protection.
14                  Q.   Okay.     So you didn't do anything with
15         respect to Section 3.
16                       Section 4 starts on page 19.               Did you
17         do anything what that?
18                  A.   Just the racial -- no.             It looks like a
19         racial polarized voting analysis, so no.
20                  Q.   Okay.     And the appendices don't look
21         like you -- something that you considered?
22                  A.   Well, I think I used -- yeah.                   So
23         that's not true.       I used them to make sure I was
24         replicating properly.
25                  Q.   Okay.     But only as to Section 1

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 1         District TB change?
 2                   A.   Yeah.
 3                   Q.   Okay.     At the end of your report, on
 4         page 32, you say that "Time prohibited flooring
 5         every district in every cluster."                 So that is a
 6         further limitation as to your review of Section 1?
 7                   A.   Yeah, yeah.         I mean, obviously I would
 8         have loved to have gone through all of them.                    But I
 9         think if you don't go through all of them it's
10         better if you can offer the reader an explanation
11         of why you didn't, and just I didn't have time.
12                   Q.   Okay.     So just to summarize, you only
13         analyzed part of one analysis in Dr. Ragusa's
14         report?
15                   A.   Yeah.
16                   Q.   Okay.     On page 31, Paragraph 63, you
17         address Dr. Ragusa's use of accounting envelope; is
18         that right?
19                   A.   Right.
20                   Q.   You say, "A map drawer can always take
21         the district into a new neighboring country,"
22         correct?
23                   A.   Correct.
24                   Q.   That would create a county split
25         though, correct?

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 1                  A.   Right.
 2                  Q.   Okay.       You're aware that the
 3         legislature had a -- a guideline seeking to reduce
 4         county splits; is that right?
 5                  A.   No.
 6                       (EXHIBIT 15, House Defendants MTD, was
 7         marked for identification.)
 8         BY MR. TRIVEDI:
 9                  Q.   No.     Okay.       I'm going to pull up
10         Exhibit 15.      Okay.     Can you see this document?
11                  A.   Part of it, yeah.
12                  Q.   Yeah.       Okay.     I'm scrolling back up to
13         the top, and do you see how the middle here it
14         says, "This is the Motion to Dismiss Plaintiff's
15         Amended Complaint by House Defendants, James H.
16         Lucas, Chris Murphy, and Wallace Jordan?"
17                  A.   Yes.
18                  Q.   Okay.       You're aware -- as a former
19         lawyer, do you know what a Motion to Dismiss is?
20                  A.   I have forgotten a lot, but I still
21         remember the old 12(b)(6) Motion, yes.
22                  Q.   Okay.       So this is House Defendant's
23         attempt to get the case dismissed; is that right?
24                  A.   Yes.       Yes.
25                  Q.   I'm now scrolling down to page 13.

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 1                        Can you read the highlighted line here?
 2                   A.   "Clearly one of the factors prioritized
 3         by the General Assembly was preserving political
 4         subdivision boundaries, such as county and precinct
 5         lines."
 6                   Q.   So do you take the as some evidence
 7         that the General Assembly wanted to limit county
 8         splits?
 9                   A.   Certainly.        I mean -- certainly had as
10         a goal, based on this, at least some degree of
11         preserving political subdivision boundaries.
12                   Q.   Including county lines; is that right?
13                   A.   Well, yes.
14                   Q.   Okay.     So when you say, "The map drawer
15         could always take the district into a new
16         neighboring county," that is the opposite of what
17         the actual legislature was trying to do; is that
18         right?
19                   A.   I don't think that's right.               You have
20         to cross at least some political boundaries.                    And,
21         you know, you can't keep all county lines intact.
22         And so, if the goal of legislature was to go into a
23         different county or choose one county or another, I
24         don't think Dr. Ragusa's analysis takes that
25         possibility into account.

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 1                  Q.   But you concede that Dr. Ragusa limited
 2         his VTD movement analysis to VTDs within adjacent
 3         counties, and that had the effect of reducing
 4         possible county splits, correct?
 5                       MR. DIAMADUROS:           Object to the form.
 6                       THE WITNESS:         Yeah.         You're going to
 7         have to say that again.
 8         BY MR. TRIVEDI:
 9                  Q.   Okay.     You critique Dr. Ragusa's
10         approach because you say, "The map drawer can
11         always take the district into a new neighboring
12         county; is that right?
13                  A.   Right.
14                  Q.   And Dr. Ragusa's analysis simply did
15         not simply take VTDs into a new neighboring
16         country, right?
17                  A.   Right.
18                  Q.   And I just read to you a line from the
19         House Defendant's Motion to Dismiss saying,
20         clearly, the General Assembly was also not trying
21         to take VTDs into new neighboring counties,
22         correct?
23                  A.   It says it's trying to preserve them,
24         but it doesn't say anything about which forces for
25         the county, which county would preserve county --

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 1         or preserve to traverse.
 2                  Q.   But no one is forcing them to split a
 3         county; is that right?
 4                  A.   (Inaudible).
 5                       MR. DIAMADUROS:          Object to the form.
 6                       THE WITNESS:       Yeah, I don't think
 7         that's right.     The one person one vote rules do.               I
 8         mean, I shouldn't say that.            Maybe it is possible
 9         to draw this map without traversing any county
10         lines, but I doubt it.
11         BY MR. TRIVEDI:
12                  Q.   Well, no one said any.           The General
13         Assembly said it was trying to preserve as many
14         county lines as possible, correct?
15                  A.   Well, right.       But you said no one was
16         forcing them to cross county lines, and I don't
17         think that's true.      You have to.
18                  Q.   In certain circumstances, right?
19                  A.   Right.    So you --
20                  Q.   But you can also have a parameter that
21         seeks to limit county splits, right?
22                  A.   Certainly.      Yeah.       None of that is
23         inconsistent --
24                       (Simultaneous speaking)
25                  Q.   Some maps split more county --

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 1                       (Simultaneous speaking)
 2                  A.   Can I finish?
 3                  Q.   Yeah.     Sorry.
 4                  A.   None of that is inconsistent with what
 5         I have been saying.
 6                  Q.   Okay.     But when you say, "A map drawer
 7         could always take the district into a new
 8         neighboring county," that is intention with a goal
 9         to limit county splits, correct, because if they
10         always do it, then they wouldn't be limiting county
11         slits, correct?
12                       MR. DIAMADUROS:           Object to the form.
13                       THE WITNESS:         There have been -- there
14         may certain counties in South Carolina where you
15         can put the requisite number of districts within
16         whole counties, so that would an exception to my
17         statement.
18         BY MR. TRIVEDI:
19                  Q.   Okay.     You didn't --
20                  A.   I don't know if there are -- I don't
21         know if there are any whole counties in this map.
22                  Q.   Okay.     But you didn't list any county
23         where Dr. Ragusa stayed within a county where the
24         legislature crossed the county line, correct?
25                  A.   No.

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 1                   Q.   Okay.     You didn't identify any counties
 2         where Dr. Ragusa's analysis unnecessarily stays
 3         within a county, correct?
 4                   A.   That's right.
 5                   Q.   Okay.     Okay.      I want to go to the final
 6         paragraph of your report where you note, "A
 7         potential issue with Dr. Ragusa's model."                      And tell
 8         me if I'm mischaracterizing what you say.                      But it
 9         seems like you're raising a potential issue with
10         Dr. Ragusa's model because it returned
11         statistically significant results for race for some
12         districts where you analyzed Dr. Imai's
13         race-neutral maps, right?
14                   A.   Did you say the last paragraph in my
15         report?
16                   Q.   Yeah.
17                   A.   Okay.     I must actually not have the
18         assigned version in front of me.                  Can we bring it
19         up?
20                   Q.   Sure.     And if you give me a second, I
21         should just point you to the language.
22                   A.   Well, I -- I -- I read the last
23         paragraph in what I have up, but I don't see that
24         language so...
25                   Q.   Yeah.     Right now I've got a lot of tabs

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 1         open.
 2                  A.   I can hear that.
 3                  Q.   Okay.     So it's the last page, the last
 4         couple of paragraphs, 66 and 67.                 Do you -- do you
 5         have the version?
 6                  A.   I have 66 and 67 as the last
 7         paragraphs, yes.
 8                  Q.   Okay.     Perfect.        Okay.      And there, you
 9         say that you took the existing precincts in
10         Dr. Imai's Andersen grouping and ran Dr. Ragusa's
11         model on it; is that right?
12                  A.   That's right.
13                  Q.   And based on doing that, you saw
14         race-based redistricting in 4,054 of the 5,000
15         districts?
16                  A.   Right.
17                  Q.   Okay.     So isn't it accurate though that
18         Dr. Ragusa was analyzing VTD movements based on the
19         previous enacted plan and comparing it to the newly
20         enacted plan, right?
21                       MR. DIAMADUROS:           Object to the form.
22                       THE WITNESS.         Right.        That's my
23         understanding.
24         BY MR. TRIVEDI:
25                  Q.   Okay.     Great.       But then is it also

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 1         accurate that Dr. Imai was comparing the newly
 2         enacted plan to a distribution of race blind
 3         simulations?
 4                  A.    Right.    So I'm looking at this race
 5         blind simulations and seeing if you run it on that,
 6         does it suggest that there were -- that -- that
 7         race played a factor.        And so, if you're turning
 8         statistically to just get results with maps that we
 9         know are drawn without respect to race, that's a
10         pretty obvious problem.
11                  Q.    Right.    But it's apples to oranges to
12         use a model that was created for comparison of a
13         previously enacted plan to a currently enacted
14         plan, and then apply it to race blind simulations
15         created a new; isn't that right?
16                  A.    No.
17                  Q.    Isn't it true that Dr. Imai didn't use
18         the previously enacted map?
19                  A.    That's right.
20                  Q.    Right.    And --
21                  A.    Well, actually, I don't know.                 I would
22         have to remember whether he -- he starts from the
23         newly enacted map with this -- with this approach.
24         My brain is fried enough that I get all cases
25         confused right now.       But, certainly, the maps that

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 1         he produced are not the previously enacted maps.
 2                   Q.   Okay.     So if you're -- if -- does it
 3         stand to reason that if you're comparing a
 4         previously enacted plan to Dr. Imai's race blind
 5         simulation, that a district would present as race
 6         based if the previously enacted plan was race based
 7         because all of the simulations are race blind,
 8         correct?
 9                   A.   All simulations --
10                        MR. DIAMADUROS:           Object to the form.
11                        THE WITNESS:         Sorry.        As far as I know,
12         all the simulations are race blind.
13         BY MR. TRIVEDI:
14                   Q.   Right.      And so if you compare -- if you
15         compare a race blind simulation to a previously
16         enacted map that was race based, virtually all of
17         them are going to present as race based because the
18         simulation was race blind, right?
19                   A.   No.     Because if Dr. Imai's maps are the
20         enacted maps, you're going to -- it should -- it
21         should just be random.           You shouldn't have
22         80 percent of the maps showing statistically
23         significant results, and other -- and other ones
24         not.     I'm sorry.     I'm not following this line of
25         questions.

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 1                  Q.   Well, let's say, is it -- isn't it
 2         possible than when you ran Dr. Ragusa's model, on
 3         Dr. Imai's race blind simulations in a handful of
 4         districts, that the statistically significant
 5         results could have simply picked up VTD movements
 6         from a previous raced based map to a new race blind
 7         map?
 8                  A.   Yeah, I suppose it's possible.
 9                  Q.   Okay.     Okay.      Last thing.       In terms of
10         your report, you say at page 30, Paragraph 62, that
11         the districts here were definitely drawn
12         purposefully with respect to race in some areas; is
13         that right?
14                  A.   Yes.
15                  Q.   I think you say that a couple of times
16         in the report; is that right?
17                  A.   Yes.
18                  Q.   And then you say, "The VRA requires
19         this;" is that right?
20                  A.   Yes.
21                  Q.   So you're not putting yourself forward
22         as an expert in the VRA in this case; is that
23         right?
24                  A.   I have no idea what I'm going to be put
25         forward as an expert in.

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 1                   Q.      Well, we can go back to the top of your
 2         report.        Do you list the VRA as something that you
 3         are an expert in?
 4                   A.      I don't know if I list anything as my
 5         particular expertise, but I served as the voting
 6         rights expert for counsel from the Arizona
 7         Independent Redistricting Commission, so someone
 8         thinks I'm an expert in the VRA.
 9                   Q.      Do you consider yourself an expert in
10         the VRA?
11                   A.      I teach it.         So, yes.
12                   Q.      Okay.     Are you offering an opinion in
13         this case on the VRA?
14                   A.      No.
15                   Q.      Okay.     Are you offering an opinion on
16         the VRA even in this paragraph that we're talking
17         about?
18                   A.      I have it.        So if we want to back out,
19         I haven't done a particular racial polarized voting
20         analysis, so I understand your experts have, which
21         would seem to suggest that you do need to use race
22         to some degree, but, you know --
23                   Q.      Well, have you done -- go ahead.
24                   A.      I haven't done -- I haven't done my own
25         racially polarized voting analysis, no.

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 1                  Q.   Have you done any analysis with respect
 2         to the VRA in your report?
 3                  A.   No.
 4                  Q.   Have you identified any districts that
 5         were, quote unquote, "Drawn purposely with respect
 6         to race" in order to comply with the VRA?
 7                  A.   No.
 8                  Q.   Have you identified any districts whose
 9         changes were required by the VRA?
10                  A.   No, I haven't looked at that.
11                  Q.   So you say the VRA requires this, but
12         you have been identified a single district where
13         that's the case?
14                  A.   That's right.
15                  Q.   Okay.     Do you have a list of districts
16         say that were out of compliance with the VRA, and
17         then required certain VTD movements to come into
18         compliance with the VRA?
19                  A.   No.
20                  Q.   Conversely, do you have a list of
21         districts that were already VRA compliant that
22         didn't need any race-conscious line drawings to
23         become compliant?
24                  A.   No.
25                  Q.   Do you have any statistical evidence

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 1         for whether a particular district in the enacted
 2         plan were drawn with a BVAP level to comply with
 3         the VRA?
 4                  A.   No.
 5                  Q.   So, for example, a district can add
 6         BVAP to become compliant with the VRA; is that
 7         right?
 8                  A.   That's right.
 9                  Q.   But if it has too much BVAP, it is then
10         passed and falls out of compliance with the VRA and
11         becomes illegal; is that right?
12                  A.   I don't -- I think that's in
13         contention.
14                  Q.   Okay.     Is it a --
15                       (Simultaneous speaking)
16                  Q.   Sorry.      Can I just finish asking my
17         question?
18                  A.   Yeah.     Yeah.      I'm just trying to --
19                  Q.   Can a district have a BVAP that is so
20         high to be noncompliant with the VRA?
21                  A.   I think you have to -- so, I don't
22         think it can inherent that -- can typically
23         inherently happen.        It depends on the other
24         evidence being produced in the case, right?                   Like
25         if you look at the places like Arizona -- Alabama

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 1         democratic party, you know, they had set firm
 2         baseline of 70 percent, and there was no evidence
 3         that you needed a base line that high.                 But I don't
 4         think if you just were drawing districts without
 5         respect to race, and you ended up with a district
 6         that was, you know, 70 percent BVAP, I don't think
 7         that would get you into sure trouble, but I'm not
 8         sure.
 9                  Q.   Okay.     But you haven't done that
10         analysis in this case?
11                  A.   I have not, no.
12                  Q.   Not with respect to any district?
13                  A.   That's right.
14                  Q.   Okay.     You had access to all the same
15         census data that everyone else in this case did,
16         correct?
17                  A.   That's right.
18                  Q.   That would include BVAP data?
19                  A.   Yes.
20                  Q.   And prior elections data?
21                  A.   That's right.
22                  Q.   And you had all -- you had access to
23         all the same programs that Dr. Ragusa used?
24                  A.   Sure.
25                  Q.   And that Dr. Imai used?

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 1                  A.   Yes.
 2                  Q.   And you didn't conduct a single
 3         analysis about whether certain districts were,
 4         quote unquote, "Definitely drawn purposely with
 5         respect to race in some areas," correct?
 6                  A.   No.     I wasn't asked to do that so of
 7         course I didn't.
 8                  Q.   But you said it.            You said, "There were
 9         districts that were definitely drawn purposely with
10         respect to race in some areas," correct?
11                  A.   Yes.
12                  Q.   But you didn't identify any of those
13         districts?
14                  A.   No.
15                  Q.   And you said the VRA requires this,
16         right?
17                  A.   Correct.
18                  Q.   But you didn't explain how?
19                  A.   That's right.
20                  Q.   Okay.     I think we can be done here with
21         affirmative questions.          That said -- and this is
22         not a question posed to you Mr. Trende, but
23         something I'm putting on the record.
24                  A.   Understood.
25                       MR. TRIVEDI:         Given the copious

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 1         information that we have discussed today that
 2         wasn't turned over, or wasn't turned over on a
 3         timely manner, including things that Mr. Trende has
 4         admitted that he e-mailed over to counsel during
 5         this deposition, Plaintiffs are going to have to
 6         keep this open to address all of that material that
 7         we weren't given adequate time to review.
 8                        MR. DIAMADUROS:          Just to put on the
 9         record, House Defendant's position, Plaintiff's
10         Counsel knew when this information was going to be
11         coming.   So we are not going to agree to leave this
12         open, but again, that is just to put our position
13         on the record as well.         And we would like to take a
14         quick five-minute break before we proceed with our
15         questioning.
16                        MR. TRIVEDI:       Okay.
17                        THE VIDEOGRAPHER:           The time on the
18         monitor is 1:22 p.m.        We're going off the record.
19                        (Discussion off the record.)
20                        (A brief recess was taken.)
21                        THE VIDEOGRAPHER:           The time on the
22         monitor is 1:31 p.m. and we're back on record.
23                        MR. DIAMADUROS:          All right.     Thank you,
24         Mr. Trende.      We appreciate you being here today,
25         and just before I ask you a couple of brief

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 1         questions, I just want to add to a couple of points
 2         to what we said before we went off the record.
 3                           We just want to put on the record that
 4         last week we did tell Plaintiff's Counsel that
 5         Mr. Trende was going to be out of the country, and
 6         we told him that he would be back Monday, and he
 7         would get that many materials shortly after his
 8         return.        We told him last week that to the extent
 9         they needed any other materials from him that we
10         needed that request as soon as possible last week.
11         We had not receive the request for the metadata
12         related to his dissertation until late yesterday.
13         And we also told Plaintiff's Counsel that with
14         respect to the issue with Mr. Trende's son that was
15         not a hard stop, it was just something that we
16         needed to work around.           So based on -- on those
17         representations, we're -- we're not going to agree
18         to leave this open, but, again, just wanted to put
19         that on the record.
20                                    EXAMINATION
21         BY MR. DIAMADUROS:
22                   Q.      So Mr. Trende, do you know whether --
23                           MR. TRIVEDI:      So Mr. Diamaduros, I
24         don't want to go back and forth too much.                      I just
25         want to acknowledge the point about Mr. Trende's

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 1         son.     If that was the misunderstanding, I'm glad
 2         that we're going to finish on time so that he can
 3         get to that, that's fine.
 4                           As to the other requests, I disagree
 5         with the factual recitation, and I would note that
 6         Defendant's Counsel and the expert have obligations
 7         to turn stuff over whether we have made a request
 8         or not.        Okay.    So let's move forward.
 9                           MR. DIAMADUROS:            Fair enough.         Just
10         wanted to put that position on the record.                         So
11         thank for that.
12         BY MR. DIAMADUROS:
13                   Q.      So Mr. Trende, do you have any
14         knowledge whether any of the Plaintiff's experts in
15         this case have dissertations of their own?
16                   A.      I would assume.
17                   Q.      Okay.      And do you know what any of
18         those everything dissertations would be about, what
19         topics they're on?
20                   A.      No clue.
21                   Q.      Okay.      Mr. Trende, I know that you --
22         you were and are still a lawyer, so you're probably
23         familiar with the Federal Rules of Civil Procedure
24         generally, but I'm -- I'm going to just briefly
25         read to you Federal Rule of Civil Procedure

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 1         26(a)(2)(B)(5), and that's with respect to an item
 2         that you would be required to disclose in an expert
 3         report.
 4                        So again, just because I'm not a -- I
 5         don't think I have the ability to share my screen
 6         on this -- on this deposition right now, I'm just
 7         going to read it into the record.               So that rule
 8         says, "Unless otherwise stipulated or ordered by
 9         the Court, this disclosure, an expert disclosure,
10         must be accompanied by a written report prepared
11         and signed by the witness, if the witness is, one,
12         retained or especially employed to provide expert
13         testimony in the case, or one whose duties as the
14         party's employee regularly involve giving expert
15         testimony.     The report must contain" -- Again, this
16         is Item 5, "A list of all other cases in which
17         during the previous four years the witness
18         testified as an expert at trial or by deposition."
19                        MR. TRIVEDI:       Object to the form.
20         Calls for a legal conclusion.
21         BY MR. DIAMADUROS:
22                   Q.   Based on my reading of that rule,
23         Mr. Trende, did you intentionally omit any cases
24         that fall within that subsection of Rule 22?
25                   A.   No.

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 1                  Q.   Okay.     And when you were drafting your
 2         expert opinions, Mr. Trende, is it your practice to
 3         do what counsel instructs you to do?
 4                  A.   Generally, yes.           Unless I think it's
 5         something that I can't do.
 6                  Q.   And just to clarify, with respect to
 7         the scope of the opinions that you -- that you
 8         create for cases, it's -- it's your practice to
 9         keep a scope of those opinions within the scope
10         that counsel specifically requests you to do,
11         right?
12                  A.   Yes.    As I said, it's not my job to win
13         the case for you.
14                  Q.   Okay.     That's exactly what you did in
15         this case, right?
16                  A.   That's right.
17                  Q.   And you're unaware of -- with respect
18         to disclosing your expert testimony or previous
19         expert testimony, you're not aware of any rule that
20         would require you to disclose how much weight a
21         Court may have given your prior testimony, right?
22                  A.   No.
23                       MR. TRIVEDI:         Objection.       Calls for
24         legal conclusion.
25                       MR. DIAMADUROS:           No further questions

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 1         from us.
 2                       THE VIDEOGRAPHER:           If that's it, I'll
 3         get us off the record.        All right.          The time on my
 4         monitor is 1:36 p.m.       This concludes the
 5         deposition.
 6                       THE COURT REPORTER:              I will need to
 7         know about read and sign, please.
 8                       MR. DIAMADUROS:          I'm sorry.         I spoke
 9         over you just then, Julie.
10                       THE COURT REPORTER:              Oh, I'm sorry.
11         I'm asking about the witness reading and signing
12         the deposition or waiving?
13                       MR. DIAMADUROS:          Yeah, we would like to
14         read and sign.
15                       THE WITNESS:       All right.            I'll read and
16         sign.
17                       THE COURT REPORTER:              Okay.     And can I
18         send it through you?
19                       MR. DIAMADUROS:          Yes.
20                       THE COURT REPORTER:              Sorry.     Okay.
21                       And then if you all can let me know who
22         needs a copy, and who -- what you would like?                     If
23         E-transcript is okay.
24                       MR. DIAMADUROS:          Yes.      You can just
25         send a copy of the transcript to me for the House

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 1         Defendants and we would like a rough as well.
 2                          THE COURT REPORTER:             Okay.
 3                          MR. TRIVEDI:      Same with Plaintiffs, and
 4         if there is an expedited rough, could you let us
 5         know?    Maybe we'll -- we'll e-mail you about costs?
 6                          THE COURT REPORTER:             Yes.    I will do
 7         that.    Sure.
 8                          MR. TRIVEDI:      Thank you.
 9                          MS. TRINKLEY:       This is Jane Trinkley
10         for the Election Defendants, I do not need a copy.
11                          THE COURT REPORTER:             Okay.    Thank you.
12                          MR. KENNY:     This is Stephen Kenny for
13         the Senate Defendants, we would like a copy.                     We
14         don't need a rough or a rough transcript.                     Just
15         standard.
16                          THE COURT REPORTER:             Okay.    Thank you.
17                          (The witness, after having been advised
18         of his right to read and sign this transcript, does
19         not waive that right.)
20                          (The deposition concluded at 1:38 p.m.)
21
22
23
24
25

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 1                          CERTIFICATE OF REPORTER
 2
 3                      I, Julie L. Bonomo, Court Reporter and
 4         Notary Public for the State of South Carolina at
 5         Large, do hereby certify that the foregoing
 6         transcript is a true, accurate, and complete
 7         record.
 8                      I further certify that I am neither
 9         related to nor counsel for any party to the cause
10         pending or interested in the events thereof.
11                      Witness my hand, I have hereunto
12         affixed my official seal this 18th day of April,
13         2022, at Charleston, Charleston County, South
14         Carolina.
15
16
17
18
19
20
21
22
23                               <%21875,Signature%>
                                 Julie L. Bonomo
24                               Court Reporter
                                 My Commission expires
25                               July 28, 2027

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 1       KONSTANTINE DIAMADUROS

 2       kdiamaduros@nexsenpruet.com

 3                                   April 19, 2022

 4       RE:        The South Carolina State Conference Of The NAACP v.

                      Alexander, Thomas C

 5             4/5/2022, Sean Trende (#5166711)

 6             The above-referenced transcript is available for

 7       review.

 8             Within the applicable timeframe, the witness should

 9       read the testimony to verify its accuracy. If there are

10       any changes, the witness should note those with the

11       reason, on the attached Errata Sheet.

12             The witness should sign the Acknowledgment of

13       Deponent and Errata and return to the deposing attorney.

14       Copies should be sent to all counsel, and to Veritext at

15       erratas-cs@veritext.com.

16

17        Return completed errata within 30 days from

18      receipt of testimony.

19          If the witness fails to do so within the time

20      allotted, the transcript may be used as if signed.

21

22                          Yours,

23                         Veritext Legal Solutions

24

25

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         Thomas C

 2       Sean Trende (#5166711)

 3                          E R R A T A    S H E E T

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 5       __________________________________________________

 6       REASON____________________________________________

 7       PAGE_____ LINE_____ CHANGE________________________

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20       __________________________________________________

21       REASON____________________________________________

22

23       ________________________________          _______________

24       Sean Trende                                   Date

25

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 1       The South Carolina State Conference Of The NAACP v. Alexander,

         Thomas C

 2       Sean Trende (#5166711)

 3                       ACKNOWLEDGEMENT OF DEPONENT

 4            I, Sean Trende, do hereby declare that I

 5       have read the foregoing transcript, I have made any

 6       corrections, additions, or changes I deemed necessary as

 7       noted above to be appended hereto, and that the same is

 8       a true, correct and complete transcript of the testimony

 9       given by me.

10

11       ______________________________           ________________

12       Sean Trende                               Date

13       *If notary is required

14                          SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                          ______ DAY OF ________________, 20___.

16

17

18                          __________________________

19                          NOTARY PUBLIC

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                      Federal Rules of Civil Procedure

                                        Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




          DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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